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          American Academy of Clinical Neuropsychology (AACN)
          202"1 consensus statement on validity assessment:
          Update of the 2OO9 AACN consensus conference
          statement on neuropsychological assessment of
          effort, response bias, and malingering
          Jerry J. Sweetu, Robert L. Heilbronnerb, Joel E. Morganc, Glenn J. Larrabeed,
          Martin L. Rohling", Kyle B. Booner, Michael W. Kirkwoode, Ryan W. Schroederh,
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          Athens, OH, USA                                                                                                          4:21-CR-009-GCH
                                                                                                                                        No. 162


              ABSTRACT                                                                       ARTICTE HISTORY
              Objective: Citation and download data pertaining to the 2009                   Received 16 February 2021
              AACN consensus statement on validiry assessment indicated that                 Accepted 23 February 2021
              the topic maintained high interest in subsequent years, during                 Published online 6 April 2021
              which key terminology evolved and relevant empirical research
              proliferated. With a general goal of providing current guidance to
              the clinical neuropsychology community regarding this important
              topic, the specific update goals were to: identifu current key defi-
              nitions of terms relevant to validity assessmenq learn what
              experts believe should be reaffirmed from the original consensus
              paper, as well as new consensus points; and incorporate the latest
              recommendations regarding the use of validity testing, as well as
              current application of the term 'malingering.' Methods: ln the
              spring of 2019, four of the original 2009 work group chairs and                                GOVERNMENT
              additional experts for each work group were impaneled. A total                                       EXHIBIT
              of 20 individuals shared ideas and writing drafts until reaching
              consensus on January 21,2021. Results: Consensus was reached
              regarding affirmation of prior salient points that continue to gar-
                                                                                                                    I6\
              ner clinical and scientific support, as well as creation of new
              points. The resulting consensus statement addresses definitions
              and differential diagnosis, performance and symptom validity
              assessment, and research design and statistlcal issues.
              Concluslons/lmportance: ln order to provide bases for diagnoses
              and interpretations, the current consensus is that all clinical and
              forensic evaluations must proactively address the degree to which
              results of neuropsychological and psychological testing are valid.


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Ex. 162, p. 1 of 54
          10540■         ■ SWEET ET AL



             There is a strong and continua‖ y― growing evidence‐ based litera‐
             ture on which practhioners can con有 dently base their judgments
             regarding the selection and interpretation of validity measures.




          Consensus conference statement update participants
          Co― Organizersi」 erry J,Sweet′        Robert L.He‖ bronner

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                   "り
          Definitions and Ditterential Diagnosisi Core llVriters: Robert L. He‖            bronner(Chair),
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          Davis′   Jacobus Donders


          introduction
          Guidance to neuropsychology′ s practitioners regarding validity assessment and malin―
          gering was initia‖ y addressed via a first― ever American Academy of Clinicat
                                                                     a36‑page con―
          Neuropsychology(AACN)consensus conference in 2008.Subsequently′
          sensus statement was published in AACN's ofFicial ,ournaL Tん e Cl加 た9′
          IVetrrops/Cん 0'09た t with the titie:″     American Academy of Ctinical Neuropsychoiogy con―
          sensus conference statement on the neuropsychological assessment of effort′ response
          bias, and malingering″           (Heilbronner et al., 2009). ThiS Consensus statement proved
          especia‖ y irnportant in providing assistance to ctinicai neuropsychologists as they
          addressed important issues of direrential diagnosis in forensic and clinical cases,Even
          ten years post― publication′ as of lⅥ arch 7,2021′ the original consensus statement has
          continued in the second place rank of rnost highly cited articles(httpS://Www,tandfon―
                                                                                               ″
          lineocom/action/showMostCitedArtictesttournalCode=ntcn20)′ and Second rnost read″
          ardcte (httpSi〃 Www.tandfonlinetcom/action/showMostReadArddesttournal cOde=
          ntcn20)of Tん e          CIFn,cc汀 ′Neurops/cん   o,o9績 . Reflecting newer terrninology and current
          thinking′     the present update to the origina1 2009 consensus statement vv‖        l be referred
          to as″ the consensus statement on validity assessment.″
             in the years since the original consensus statement,there have been indications of
          an impressive rate of continued production of relevant peer―           reviewed and scholarly tit―
          erature on validity assessment and malingering (cf, SWeet & Guidotti Breting′               2013,




Ex. 162, p. 2 of 54
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                                                                        ■Malingenng/Forensic tt General Clinical
          Figure l. Depi(丈 iOn of general trends of″ clinical″ versus t〔orensic″ neuropsychology‐ relevant publi‐
          cadons that focus on Performance Valttiv Test/Symptom Validtty Test(PVT/SVTl isSues,idendned
          by uЫ ng mukiple′ wild card'search terms acЮ ss a‖ pee卜 re胡 ewed,ournatt catalogued in the
          PsycINFO and MEDLINE databases from 1987 through 2019.
          Repttnted fЮ m Suchy(2019)with permission.
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          Figure 2. Number of validity testing publications in each year froHl 1987 unti1 2019′ by                                                                                                identi輛 ed
          uttng muhiple′ wild card'search terms across a‖ pee「 reviewed,ournals catalogued in the
          PsycINFO and MEDttNE databases.
          Repttnted and modined fЮ m the Onginal in suchy(2019)wК h permbЫ on.




          Suchy, 2019)。                                   in the introduction to a special issue on validity assessment in Tん                                                                                   e
          Cli″ ,た                               9,Neurops/cん ologた t Suchy(2019)erecuvely depicted in graphic form the transト
          tion from neuropsychoiogical validity assessment research that focused mostly on
          forensic contexts to validity assessment research that focuses with greater frequency
          on ctinicai contexts(see Figure l),with a continued overa‖ high rate of annual pub―
          lishing covering both topics(see Figure 2).




Ex. 162, p. 3 of 54
          10560■       ■ SWEET ET AL



            Over the years′ the breadth and depth of expert guidance on va‖ dity assessment
          has at tirnes raised new issues,and caused basic terrninology to evolve,SirnWarly′           the
         continued applications of pre‑2009 measures and the availab‖           ity and applications of
          post… 2009measures have raised new questions,and′ in some instances′ have caused
          rethinking about past questions and answers,Moreover′ forensic and ctinical venues
          in which these issues are addressed, as weH as the general sophistication of the
          practitioners in these venues, have evoived to varying degrees. Fina‖            y, during the
          current process of updating the 2009 consensus statement′           the influentiaI Stick et al.

          (1999)diagnOStic criteria for malingered neurocognitive dysfunction were updated
          by the original authors(Sherrnan et al.′ 2020)′ prOViding additional considerations for
          consensus participants as they worked on the current consensus statement
          update proieCt・
             For a‖    of these reasons, there is an obvious need to update the 2009 consensus
          statement,which is the goal of this paper.Specifica‖ y,、 e intend to reinforce beliefs
                                                                         A′




         frorn 2009 that remain worthy in 2021′      as vve‖   as provide additional guidance and rec―
          ornrnendations regarding current expert opinion that can continue to assist ctinical
          neuropsychologists in documenting the validity of exarninee presentations and′ vvhen
          possible′   the nature of invalid presentations.


          CeP,erar a,prOac′ ,anJ∬ me″ne For 202,vPrate

          Untike the first consensus conference statement,the current paper was not a product
          of a face― to― face meeting of invited experts. Rather′       the approach of the current
          update was to develop and produce a statement derived from a deta‖         ed exchange of
          inforrnation via telephonic and electronic rnedia.
             in the spring of 2019,four of the original five 2009 work group chairs agreed to
          participate.initial discussion,on March 21,2019′ between the work group chairs iden―
          dned the fOllowing at the outset of the proiect fOur tOpical secdons for the update′               a
          process by which consensus could be attained without requiring a face― to― face meet―
          ing′   and a list of experts for the key subgroup topics, On March 26′          2019サ a formal
          AACN Position Paper Proposal was completed and submitted to the AACN
          Publications Cornrnittee,subsequently endorsed by that cornrnittee,and forwarded to
          the Board of Directors,who voted for proJect approval.As in 2009′           invitations to par―
          ticipate were extended to neuropsychologists who are engaged in relevant scholarty
          activity(e.g.peer― reviewed research′ authored or edited books,continuing education
          for other professionals)devOted to the science and practice of neuropsychological
          assessment of validky.The goals were to:identifン        Current key dehnhions of terms rele一
          vant to validity assessmentテ    learn what experts believe should be reafFirmed frorn the
          original consensus paper′ as we‖ as new consensus points,and incorporate the latest
          guidance on the use of perforrnance validity and symptom validity measures,as we‖
          as current application of the terrn′ malingering.′
             Four subgroup topics were identified: Dettnitions and Differential Diagnosis′
          Perforrnance Validity Assessment,Self― Report of Psychological and Somatic Symptoms′
          and Research Design and Statistical issues,These categories were very sirn‖ ar to the
          origina1 2009 paper′ with the exception that the previous paper had separate sections




Ex. 162, p. 4 of 54
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          on Psychological Symptoms and Somatic Symptoms, which are currentty combined
          into a singie section of Self― Report of Psychological and Somatic Symptoms.


          Co"sensws process ror statement wprate
          The four sections of the statement were initia‖     y prepared by work groups dedicated
          to their particular topic′   with first drafts written by core writers and then shared for
          review and editing with additional internal work group experts.Each section draft was
          then reviewed by the co― organizers, with additional subsequent revisions within the
          work group. The resuiting sections were then integrated by the co― organizers, who
          added initial drafts of the introduction and surnrnary sections.Iterations of the entire
          document、 ere reviewed multiple tirnes by a‖ participants.Uitimately′
                        A′                                                                a‖   participants
          in this consensus update had the opportunity to review′         edit′   and approve the entire
          completed 2021 statement′       ensuring consensus among a‖        20 participants regarding
          sound practice guidance related to validity assessment. The consensus process con―
          ctuded with a unanirnous vote to support the present statement on January 21,2021.


          Definitions and ditterential diagnosis
          Since the previous consensus conference statement in 2009(He‖             bronner et al。 ′2009)′
          there has been a burgeoning ctinical and research base devoted to the study of
          neuropsychological validity assessment and malingering, Over the past decade′ muト
          tiple terrns have either changed or been updated to more appropriately reflect cur―
          rently preva‖ ing views and paradigrn shifts in the leld.In the previous Definitions and
          DifFerendal Diagnosis secdon′      erorts were made to clarify various descttptors and
          terrns that had previously been apphed to convey genera‖ y accepted concepts at that
          tirne,The intent was not prescriptive,but aspirationalo in this section,we、 ′
                                                                                      v‖ 1荀 rst surn―

          marize key points from the previous Definitions and Direrential Diagnosis section that
          remain perunent and then ciarifン      current terms in a manner that facilkates an under―
          standing of relevant concepts for future research and ctinical practice.


          κe/Po′              ″rmeJ rrom the 2009 conse"sws conFerence statement
                   "ts rea五
          A distinction was made between the processes of″ detection″ of invalidity and the
          ″
           diagnosis″ of rnalingering。


          Detec∬ o′ ,
          There are two areas of interest,both related to detecting attempts on the part of an
          exarninee to demonstrate disab‖ ity:(a)feigned and/or exaggerated symptom corn―
          plaints and(b)feigned and/or exaggerated dirninished capability.

          ● Indicators of symptom exaggeradon,referred to as s/mptom y9,FJ't/tests,are typic―
             a‖ y incorporated into psychological tests that elicit selfィ  eport of symptOms
             and complaints.
          o Stand― alone and embedded perFor′ ηance y〔       7′      tests(testS referred to in 2009 as
                                                          'J'り                                  diminished
              symptom validity tests or erort tests)are measures used to identifン




Ex. 162, p. 5 of 54
          10580■     ■ SWEET   ET AL


              capacityo Stand― alone perforrnance validity tests are those that are specifica‖ y′        and
              usua‖ y solely▼ developed to address validity statuso Validity tests that are′      built into′

              or derived from neuropsychological ability tests not primarily developed for pur―
              poses of assessing validity are referred to as embeJJeJ measures. Both are often
              inctuded as part of a comprehensive neuropsychological test battery.
          ●   When considering neuropsychological test performance,concerns regarding validity
              have oRen historica‖ y been thought to relate to the consideration of vvhether an
              exarninee is malingering. However′ simply equating suboptimal perforrnance or
              test invalidity with malingering is an oversimplificationo This is a complex concep―
              tual issue′    for which the 2009 consensus cornrnittee proposed a descrip―
              tive schema。
          ●   Specifica‖ y′ the process of detecting malingering is one in which consideration is
              given to multiple dirnensions of underlying behavior, which direrentiates it from
              other entities,such as factitious disorder and somatoforrn disorder and its variants
              (e.go COnversion disorder,cogniforrn disorder).

          D,99nosた
          Within the 2009 consensus conference statement, the terrn Jic,9nosと               was used in a
          manner consistent with its use in the relevant neuropsychological literature at that
          tirne(e.g.Bianchini et al。 ,2005,Stick et al。 , 1999)。 in the version of the Diagnostic and
                      nanua1 0f「 Ⅵental Disorders(DS肘
          Statistical い                                    1‑iV― TR,   American Psychiatric Association′
          2000)in use at that tirnef malingering was assigned a y―         code′   indicating that it is not
          a psychiatric i‖ ness and that a disease process is not implied with the designation,We
          agreed with the DSヽ /1‑iV― TR that rnalingering is not a mental‖ iness or disorder.Rather′
          malingering is a descriptive terrn that is reserved for instances of detiberate or inten―
          tional fabrication of symptoms or impairments in the interest of securing some forrn
          of external incentive(S).A ctassification of′ malingering′ does,,ot address the presence
          or absence of genuine symptoms or impairments,or related diagnosable conditions,
          Use of the terrn malingering is a deterrnination′     not truly a′ diagnosis′ of a condition.


          o in considering a designation of malingering′       the clinician is explicitly making a
              deterrnination of intent, more specifica‖ y, a deterrnination of intentiona‖ y dirnin―
              ished cap∂ b‖ ity and/or intentiona‖ y exaggerated symptoms with the goal of
              obtaining an external reward or bene荀 t(e.g.financial compensation,avoidance of
              work or milkary service)。
          ● The 2009 panet reached consensus thatf through application of relevant psycho―
             iogical and neuЮ psychologに al sdence′ ctinに 愴ns can identify malingettng in some
              exarninees.To do this′   the overa‖ presentation of the exanlinee′ inctuding results of
              specific vandity tests employed for the purposes of detection′   should be considered.


              For the identification of malingering′     there are published ctassification systems
          (e.g. Bianchini et al。 ′2005, SIick et al., 1999)that represent the preva‖ ing neuro―
          psychological knowiedge base, Such systems offer a reliable means of operationaliz―
          ing decisions related to the deterrnination of malingering. They are consistent with
          appropriate ctinicai neuropsychology practice guidelines lAAC'V Prて〃
                                                                             ct'c9Ct汀    nes For
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Ex. 162, p. 6 of 54
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         ,Vetrrops/cん   οlο 9icar Assessment anJ Const′ rtat,Or,, American Academy of Clinical
          Neuropsychology (AACN)′        2007) and    fOrensic    psychology  practice guidetines
                  /Cuβ erttes For Forens,c Ps/Cん 。￨。 9"Amettcan
          (5pecた 汀を                                                 Psychiatttc Associadon′ 2013),
          in explicitly recomrnending that exarniners incorporate multiple sources of data and
          inforrnation when making deterrninations regarding malingering. Empirica‖ y― based
          assessment systems are recomrnended when making such deterrninations′    as these
          provide increased reliab‖ ity of the ciassification accuracy of findings of the various
          vatidity tests, It is atso recorYlrnended that examiners be familiar with the psycho―
          logical and neuropsychological literature related to the ctassification accuracy of vaト
          idity tests and how we‖ the sample of a given study generalizes to the individual
          being exanlined.

          ● Because a deterrnination of malingering involves an explicit consideration of the
            ptrrpose of a given behavior′ the 2009 corγ lrnittee recognized that an irnportant
             part of the assessment process involved a consideration of the context of the evalu―
             ation. in a routine clinical contextr the primて   ″
                                                               r/99,n of a patient is often relief of
             some forrn of physical or emotional symptomo in contrast′           in forensic and some
             military contexts′ the exanlinee typica‖ y has an external incentive to gain(i.eo Sec―
             ondary gain)by demOnstrating irnpairrnent.To reach a deterrnination that inten―
             tional exaggeration is produced as a manifestation of malingering versus some
             other condition(e,go somatoforrn disorder)′    the ctinician must deterrnine that the
             exarninee is attempting to appear impaired to obtain a secondary gain′    recognizing
             that this is more likely to occur in forensic than clinical settings.
          ● The direrential decision― rnaking with regard to malingering is a process thati a)
             requires proactive actions on the part of the exarYliner(eogo a priori selection of
             muhiple PVTs and/or SVTs in the test battery)ザ      b)iS baSed on obiect"ec山 tetta,and
             C)inCOrporates measures that have established ctassification accuracy. It is critical
             to combine professionaljudgment wК h the resuks of sdentrically― validated validity
             measures in this process。
          ● The deterrnination that rnalingering is present often involves the application of scト
             entific resuits to a forensic question,This inforrnation can be used to assist the
             trier― of― fact(e.gojudge′ jury)in a legal decision― rnaking process,Neuropsychologists

             should remain rnindful of the irnportant difFerence between scientifica‖          y―   based
             assessment dedsions and legal adiudiCationo Moreover′ it is important to recognize
             and respect the laws and local rules of the,uHsdiCtiOn in which the serMces are
             perforrned when describing the behavioral presentation at issue.Fina‖ y,a compe―
             tent deterrnination of rnalingering requires that clinicians take into consideration
             the social,cultural′ and legal contexts in which the behavior occurs(Cf.Bush et al.′
             2020,FuiiⅢ 2017)。



          )Prates s′ 打ce 2009
          ェ

          The professional literature on neuropsychological validity assessment has grown sub―
                              as documented by a Psycinfo search conducted on December 9′
          stantia‖ y since 2009′
          2020. Searching this database (、 ⅣhiCh inctudes book′ journal, and dissertation




Ex. 162, p. 7 of 54
          10600■      ■ SWEET ET Aヒ



          contents),fOr dOcuments published between」 anuary l′ 2010 and December 9, 2020,
          and after removing items that were clearly false― positive nndings(e.g,Studies related
          to ettort and reward systems)′ there were 432 documents containing the terms″ effort″
                                                                              ″
          and ″neuropsychological′ ″860 documents containing the te「 rns malingering″ and
          ″                   ″
           neuropsychologicaし and 408 documents containing the terrns〃 pe「 formance validity〃
               ″
          and neuropsychological.″ As discussed iater in this consensus statement′ the use of
          specinc terms relevant to neuropsychological validity assessment has evoived over
                                            ″            ″
                        the combination of efFort″ and neuropsychological″ peaked at 62′
          tirne. in 2012′
                  ″                          ″
          whereas perforrnance validity″ and neuropsychologicat″ was mentioned in onty 7
                                                                       ″
          published documents, By 2020,the combination of″ efFort″ and neuropsychological″
                                         ″                           ″                  ′
          had declined to 29, whereas perforrnance validity″ and neuropsychological′ had
          increased stead‖ y across the intervening years to being mentioned in 67 published
                                                         〃                        ″
          documentso The combined search terms            malingering″   and      neuropsychological″
          peaked in 2012 at 125, dectining over time to a relatively stable frequency in recent
          years,which in 2020 was 57.Irnplications of these terrninology preferences in the rele―
          vant professional      literature are discussed at various     points    in   this consen―
          sus statement。
             A new version of the DSM(i.e.DSM‑5,American Psychiatttc Association,2013)was
          released′   which updated several diagnostic terrns that have irnportance for validity
          assessment, A′ loreover, in 2020′ Sherman, Stick′ and iverson published multidimen―
          sional malingering crite「 ia for neuropsychological assessment, bu‖ ding upon their
          1999 malingered neuropsychological dysfunction criteria(thiS iS discussed in greater
          detail in the relevant sections that foHow).BaSed On the additional literature that has
          been published, updates to the Definitions and Direrential Diagnosis section were
          deemed warranted.
             At the tirne of the 2009 consensus conference statement′ the terrn mて 〃″ngerir,9
          was sometimes broadly used by practitioners to irnply invalidityo Consequently′
          ongoing ctarifications of the terrn were necessary, The DSⅣ l‑5 indicates that malin―
          gering is″ the intentional production of false or grossly exaggerated physical or psy―
          chological symptoms, motivated by external incentives such as avoiding nlilitary
          duty′ avoiding work′ obtaining financial compensation′ evading crinlinal prosecution,
          or obtaining drugs″ (p. 726).The Malingered Neurocognitive Dysfunction(い‖ND)cri―
          teria(Stick et al., 1999),whiCh COntinue to be among the most frequently used crite―
          百a for identifying malingettng by clinicai neuropsychologists(Mardn,Schroeder′              &
                                                  ″
          Odiand′ 2015)′ define malingering as a     volitional exaggeration or fabrication of cog―
          nitive dysfunction for the purpose of obtaining substantial material gain′      or avoiding
          or escaping forrnal duty or responsibility″    (p. 552)。 Notably′ Sherrnan et al.(2020)
          chose to retain the terrn malingering in their updated conceptual modei because
          they perceived that alternative terrns(etgo noncredible neuropsychO10gical dysfunc‐
          tion, disability exaggeration)were not suricientty precise to describe the entity
          known as malingering. in their 2020 multidirnensional criteria for neurocognitive′
          somatic′ and psychiatric malingering′ they define malingering as″ the volitional feign‐
          ing or exaggerating of neurocognitive′    somatic, or psychiatric symptoms for the pur―
          pose of obtaining material gain and services or avoiding forrnal duty′        responsibility′
          or undesirable outcome″ (p.739)。




Ex. 162, p. 8 of 54
                                                                   THE CLINICAL NEUROPSYCHOLOGIST (I) 1061


             The above definitions indicate that malingering is more than sirnply exaggerating
          or feigning of dysfunction.The exaggeration or feigning of dysfunction mtrst be mot,中
          y,teJ b/9,α ter′,9′ 加cent,ve.AddК ionallン to make a determinadon of malingettngザ                   a
          neuropsychologist rnust infer that the external incentive is driving the feigning behav―
          ioro in some evaluation contexts(e.g,personal in,ury litigation)′       eXternal incentives are
          we‖ established and can be inferred with a high degree of likelihood,while in other
          instances they cannot be deterrnined or are less likely to be discerned(e,go Clinical set―
          tings in which evaluation resuits may later be used for forensic purposes′                unbe―
          knownst to the clinician initia‖ y). Forensic settings increase the likelihood of
          malingering′ given that external incentives are always present′ whereas causes of
          invalidity in non― forensic settings are believed to be more comrnonly due to other
          factors, such as an oppositional attitude toward testing or a somatoforrn condition′
          especia‖ y when external incentives are ruled out(Martin et al.,2015,Schroeder et al。 ′
          2016)。 ThuS′      malingering should be considered whenever validity testing suggests
          invalid responding′  even if sporadic′ and external incentives are present. However′
          invalid test findings should not be directly equated to malingering′ especia‖ y in non―
          forensic settings, as validity measures can be negativety affected by factors that are
          not necessarily intentional or motivated by an external incentiveo A deterrnination of
          malingering most often requires a presentation in the context of an externalincentive′
          pursuit of that external incentive′ evidence of noncredible performance and/or feigned
          or exaggerated symptomatology′         and e胡 dence― based informed judgment by the prac―
          titioner, who should incorporate multiple pieces of inforrnation′              inctuding base
          rate data.
             Like the terrn rmalingering,′ the terrn reffort′ wa5 0Ren broadly apphed at the tirne
          of the 2009 consensus conference statement. As one example of this, neuropsycho―
          logical validity tests were previously referred to as′    efort tests'which can at tirnes be
          misleading in that the results of validity tests are not synonymous with the cornrnon
          concept of erort,ETort, by corYlrnOn dennitiOn′       typica‖   y refers to physical or rnental
          exertion toward erective and successfui completion of a task′         not opposition to erect̲
          iveness on a task or task completion. However′ an individual can eFortfu‖ y resist
          being erective On a task and can expend efFort in subverting or underrnining the
          task′   which runs counter to the intended meaning of the original labeling of validity
          tests as refFort tests,′ AIso′   efFort exists on a continuum′ ranging from maximum eFort
          (1000/o erOrt)′    dOWn through less than maximum erort(but mOre than no erort),tO
          nO(00/o)effOrto Neuropsychological validity tests are typica‖      y not constructed to meas―
          ure a continuum of erort.insteadr they are constructed to identify at/ρ          た9,pat:erns oF
          perrbrmance as compared to those of exarYlinees who have genuine and significant
          cognitive dysfunction and produce valid test results(Larrabee, 2012)。             ThiS iS Often
          accomplished by creating cutofF scores that are set to maintain specificity at 900/O or
          better l′ vhen   applied to those individuals with evidence of signincant cOgnitive dys―
          function.A dichotomous validity test finding (i.e,SCOring above or below a cuton is
          inconsistent with the construct of eFort,which is on a continuum.Instead′            the finding
          is reflective of a dichotomous decision as to whether the performance was so atypical
          as to invalidate perforrnances, which cannot be viewed as an accurate reflection of
          exa口 linee ab‖ itiest




Ex. 162, p. 9 of 54
         10620■         ■ SWEET ET Aヒ


                                  ′              ′                 ′
             Like the terrn        erort test′   terrns such as    poor eFort′ to describe invalid test
         resuits can be nlisteading (BOOne, 2013). Such terrninology implies that an exarninee
         sirnply did not put forth enough erort tO produce valid results,AIthough this might
         be true in some cases of invalidity′          it is not true in a‖ caseso Particularly when malin―
         gering occurs, an exanlinee is rarely sirnply approaching testing 、
                                                                           ハ′
                                                                            ith a lackadaisical
         attitude or iow effort. Instead′            the invalidity is comrnonty due to an intentional
         attempt to appear disabled, which′ as noted above, can be an effortful process. A
         prime exarnple of this would be within the context of significantly below chance
         forced―    choice test perforrnance,Such invalid test results are not reflective of poor or
         inadequate erort, instead′ they are reflective of relatively high erort applied in a
         negative or counter― productive direction. Thus, to broadly refer to invalid resuits as
                                      ′
                                      poor erort′ wOuld not be appropriate in such an instance.
         being reflective of
         Additiona‖ y, in forensic settings, referring to invalidity in this manner could be erro―
         neous, as implausible perforrnances and evidence of probable malingering could be
                          ply being due to a lack of erort′ ′
         disrnissed as sirYヽ                                    which discounts exarninee
         accountability for the outcome.
             Likely for the reasons stated above′ use of terms such as Verort test′ and
         rrnalingering test′
                            have dectined since publication of the 2009 consensus conference
                                                                                   ′
         statement. Indeed′ recent survey data indicate that the terrn erort measure′ is pre―
         ferred by only 140/O of North American neuropsychologists and 80/o of neuropsycho―
          logical validity testing experts(Martin et al.′        2015, Schroeder et al.′ 2016),The terrn
         ′
          rnalingering test′ is preferred by only 20/o of North American neuropsychologists and
         00/o of neuropsychological validК      y tesung experts.instead,more obieCt"e terms,such
         as 'validity test,′     and ′
                                     perforrnance validity testing′ are preferred, the latter terrn by
         870/o of neuropsychology validity testing experts(Schroeder et al.′ 2016).
             Since publication of the 2009 consensus conference statement,additional updates
         to relevant terrninology have Occurred,The terrn′          symptorn validity test′ (SVT)Was pre―
         viously used to refer to a‖ neuropsychological validity indicators(bOth perforrnance―
          based validity indicators and symptom report― based validity indicators)。                Larrabee
          (2012)′    howeVer, indicated that using the term SVT to refer to a‖ neuropsychological
         validity indicators is imprecise,He proposed that SVT be reserved for tests that assess
         the validity of reported symptom complaints(suCh as the Structured inventory of
         Malingered Symptomatology tSI卜 /1S, Merckelbach & Smith′ 2003]or validity scales
          within various inventories′       such as the multiple forrYlS Of the A/1innesota Muitiphasic
          PersonalК y inventory eogo MMPI‑3,Whkman et al.′            2020,Tyticki et al.′   2020).Larrabee
          also proposed thtt performance validky test(PVT)be uSed to identi,teStS that exam―
          ine the validity of stand― alone performance― based activities(Such as the cornrnonty
          used Test of lⅥ emory Malingering′ Tombaugh, 1996,reviewed in Martin et al.′ 2020)
          and embedded validity measures, such as the cornmonly used Reliable Digit Span
          (RDS,GreifFenstein et al。 , 1994)and other Digit Span score derivations(reviewed by
          Webber& Soble′ 2018).ThiS terminology was quickly adopted, only two years iater′
          nearly 750/o of North American neuropsychologists and nearly 900/o of validity assess―
          ment experts reported preferring using the terrn PVT to specifica‖           y refer to perForrn―
          ance― based        neuropsychological validity tests (,酬 artin et al., 2015, Schroeder
          et al.′   2016).




Ex. 162, p. 10 of 54
                                                                 THE CLINICAL NEUROPSYCHOLOGIST (こ ) 1063


             Fina‖ y,it   is impOrtant to explicitly state that conditions other than malingering can
         be accompanied by distorted symptorn report and presentation′ particularly in non―
         forensic settings′ in which external incentives are often less common than in forensic
         settings(Martin et al.′ 2015,「 Ⅵartin&Schroeder,2020).AIthough some of the condi―
         tions that can cause distorted symptom presentation have been proposed outside of
         the DSM (e.go COgniform disorder[Delis&Wetter′          2007]′   neurOCOgnitive hypochondria―
                           Stereotype threat treViewed by Nguyen&Ryan′ 2008)〕 and diagno―
         SiS IBOOne′ 2009a]′
         sis threat[Suhr & Gunstad, 2002, Vanderploeg et al,′ 2014])′ there are additional
         conditions included within the DSM.
            At the time of the 2009 consensus conference statement′              when the DSA/1‑iV― TR
         was in use′ conditions that could cause distorted symptorn report and presentation
                                                            〃
         due to somatization were targely listed under the   Somatoforrn Disorders″ ciassifica―
         tion. In 2013′    when the DSM‑5 was published′ the″ Somatoforrn Disorders″ classifica―
                                                      〃
         tion was replaced by the nevげ ly terrned     Somatic Symptom and Related Disorders″
         ctassification(American Psychiatric Association,2013)。        Some Of the clinical conditions
                                                                              ″
         under this ciassification are the same as those under the             Somatoforrn Disorders″
         ctassincatiOnf but others are diFerent.A‖       conditions under this new ctassification are
         said to share the cornrnon feature of having a prorninent focus on somatic symp―
         toms with associated distress and irnpairment related to the perceived symptomst
         The DSM‑5 notes that multiple ttctors might contttbute to these somatic symptom
         condhions′ including expettencing trauma in early life′           ha胡 ng a maior life stressor
          preceding the symptom onset, obtaining attention from having an              ‖iness, and hav―
          ing increased sensitivity to pain. It is also noted that some social or culturai norrns
          rnight lead an individual to express emotional distress through physical symptoms
         (Mamni&wong′          2014)。
             Regarding Somatic Symptom Disorder′        the DSⅣ l‑5 notes that this condition″ ofFers a
          more ctinica‖ y useful rnethod of characterizing individuals vvho may have been consid…
         ered in the past for a diagnosis of somatization disorder″ (p.310)。 Essentia‖ y′ this con―
         dition is considered present vvhen one or more distressing somatic symptoms interfere
         with da‖ y tiving due to having:(a)diSproportionate and persisting thoughts regarding
         the seriousness of symptoms,(b)perSiStently high anxiety regarding symptoms,and/
         Or(C)excessive energy devoted to focusing upon symptoms, Somatic symptom dis―
         order does not require an absence of a medical explanation for somatic symptoms,
          instead′   this new diagnosis focuses upon atypical interpretation and/or presentation of
          somatic symptoms,
             Other conditions under the″ Somatic Symptorn and Related Disorders″ ctassincation
          inctude conversion disorder(also referred to as functionai neurological symptom dis―
         order)and faCtitious disorder, which were both inctuded in the DSA/1‑IV― TR, Fina‖ y′
         there are also diagnoses of i‖ ness anxiety disorder(eSSentia‖ y, preoccupation vvith
          having or acquiring an i‖ ness),psyChO10gical factors arecting other rnedical conditions
          (pSyChO10gical factors are thought to inftuence a medical condition or interfere with
          treatment of the medical condition)′ other specined sOmatic symptorn and related dis―
          order′   and unspecified somatic symptom and related disorder, It is important to be
          aware of these clinical conditions′ as we‖ as other conditions that can result in dis―
          torted symptom report and presentation′ when interpreting the resuits of neuro―
          psychological evaluations′    inctuding validity measures.




Ex. 162, p. 11 of 54
         10640■         i SWEET ET AL


         Perforvnance validity assessment
         Comceptwar a"す 。perat′oma′ Je'"ft'o"s
         in the origina1 2009 consensus conference statement(Heilbronner et al.′              2009), the
         content of the PVT section addressed assessment of test validity related to what、            Alere
                                          ″                  ″
         characterized in that era as      ab‖ ity issues。   Specifica‖ y, this section included neuro―
         psychological testing that involved assessment of domains such as attention′            rnemory,
          Ianguage, processing speed′       and sensorimotor function because these domains
         involved measurement of specific exarninee ab‖ itieso Fundamenta‖ y,the tests assocト
         ated with these domains a‖ involve demonstration of exarninee perFormcI′           ,ce capacity′

         and′   hence,are subiect tO COnsideradon of performance validky.The relevant validК              y
         measures in these domains of ab‖ ity are currently referred to as perForrnance validity
         tests or PVTs. Performance― based tests are genera‖ y direrentiated from seif― report
         tests or inventories that involve direct exarninee endorsement of symptoms (etg。
         symptom validity tests or SVTs)。 HoWever′ seif― report measures may include personal
         estimations of current or past capacities, or solicit performance ratings of the exarn―
          inee from the perspective of a knovvledgeable farnily member′           significant other′    or
         friend′ in which case they are relevant to the content of this section of the paper,
         Consistent with sel卜 report measures of non― perforrnance abilities and symptoms′
         when self― report performance raungs are obtained′ untess obiect"e validity indicators
          are contained within the measures, the perForrnance ratings cannot be assumed to
          be valid.



          κe/Pofntt rearirmeF rrom the 2009 consensws conFerence statement
          conceptwa′ a,,J operaす ona′ どe'"′ t′ ons pertaF"′ η9to assessment oF
         perrormance capac1/
          ● ヽ
            /1isrepresentation of perforrnance capacities in any neuropsychological domain
             (rnOtOr′   rnemory′ etc.)repreSents response bias,
          o When potential for external gain is present,and the valence of the response bias is
             negative(iteo in the direction that would increase the likelihood or magnitude of
             external gain)′ malingering should be considered in the direrential diagnosis。
          o Scores beyond cutors, whether on stand― alone tasks or embedded indicators
             derived from ab‖ ity tests, most cornrnonly represent negative response bias.
             Marked inconsistencies between ab‖ ity perforrnances and abilities in everyday life
             could also represent response bias,
          ● invalid neuropsychological test perforrnance results:′ '(1)are not fu‖ y explained by
             brain dysfunction,(2)are nOt reasonably attributable to variables that rnay in some
             instances mode「 ate(e.g.education′ age)or may in some instances confound(e.g。
             fatigue′psychological conditions)perfOrmances on ab‖ ity tests′ and(3)are signifト
             cantly worse than′ or at ieast direrent in degree or pattern fronl′ perforrnance
             known to reflect genuine brain― based disturbances in neuropsychological ab‖ ities″
             (He‖ bronner et al。 2009,p.1loo).
          ● As part of addressing negative response bias and the possib‖ ity of malingering′
             review of records(inctuding previous test results, if ava‖        able)′ cliniCal intervievv′




Ex. 162, p. 12 of 54
                                                                  THE CLINICAL NEUROPSYCHOLOGIST (Ξ ) 1065


              and comparison of test resuits to behavior in the real worid can be critical.
              Regarding interviewing′ false and/or incomplete history is considered to represent
              more than norrnal error of onlission or inexact provision of history,vvhen related to
              the specific focus of a forensic consultationt Such inaccuracy on the part of the
              exanlinee could represent additional evidence of the negative influence of a con―
              text of secondary gain.
         ● As neuropsychologists,udge validity of test data′ they must do so by relying on
              tests and psychometric procedures that have proven validity.These tests and pro―
              cedures are most often associated with multiple peer― reviewed scientific articles,
              The neuropsychological literature related to assessment of perforrnance validity is
              we‖ developed and expands substantia‖ y with new high― quality peer― reviewed
              research every year(ci SWeet & Guidotti Breting′            2013, Martin et al., 2015)。
              Practitioners are expected to maintain farniliarity with the latest scientific titerature
              in this area, assigning weight according to the rigor of the studies and the rete―
              vance of samples whose demographic and in,ury/iliness sevettty charactettsucs
              most closety match the practitioner′ s case at hand.Moreover′ it、 ′
                                                                                vould be inappro―
              priate to rely solely on PVT manuals without attention to newer cut―        ors and inter―
              pretation strategies based on updated research,


         Vet′ ,oJs or eya′ var,9     perFormance va″ ゴ′
                                                      :/

         ● Use of psychometric indicatorsf rather than exclusive reliance on clinical intuition or
            qualitative observation of an exanlinee's approach to the task′ is the most valid
              method for assessing the validity of a neuropsychological presentation.
          o Stand― alone PVTs have been developed specifica‖ y to evaluate perforrYlanCe valid―
             ky,The additional testing ume required is warranted′ considered meJic9,1/neces―
              StTr/fOr ctinical evaluations(BuSh et al。 ′2005),and prOven to be particularly useful
              within forensic evaluations′   vvhich have been shown to be associated with a high
              risk of invalid responding.
          ● Forced― choice stand― alone PVTs lirnit the exanlinee responding to one of a fixed
              number of responses.AIthough PVT results do not have to be significantly below
              chance to raise concerns regarding perforrnance validity′ results that are signifi―
              cantly belovv chance on forced― choice PVT measures indicate a willful avoidance of
              the correct response and support a conctusion of malingering when occurring
              within a secondary gain context。
          o Non― forced― choice PVTs have been used efFectively to assess a range of responses′
              such as randorn′ unrealistica‖ y siovげ ′irYlplausibly inaccurate′ and inconsistent pat―
              terns of responding that difFer meaningfu‖ y from perforrnances of individuals with
              we‖ ―
                  documented disorders,
          o Embedded perforrnance validity indicators are measures that are contained within
              standard dinical abilky tests and that have shown value in identifying noncredible
              or disingenuous perforrnances.
          o   ″
              As the number and extent of findings consistent with the absence or presence of
              response bias increases, confidence in conctusions regarding the validity of the
              exanlination is strengthened accordingly″ (Heilbronner et al。 ′2009′ p.1107).




Ex. 162, p. 13 of 54
         10660■          ■ SWEET ET AL



         o in keeping with the fundamental belief that a‖ test perforrnances must be valid in
                order to be interpretable′     neuropsychologists encourage examinees to perforrn to
                the best of their abitities.
         ● The vatidity of self― reported lirnitations of ab‖ ity and symptoms of perforrnance
            incapacity cannot be assumed and must be evaluated,particutarly、 ハ   ′hen the exam―
                ination occurs in a forensic context or other context in which external incentives
                are presentt When evaluating the validity of such seif― reported lirnitations,ctinicians
                inctude measures that possess an internal rneans of assessing response bias,invalid
                responding and malingering pertaining to psychological conditions can occur inde―
                pendently of invatid responding and malingering pertaining to perforrnance cap―
                acity′such as cognitive abilities(e.go Nelson et al,′ 2007, SherrYlan et ai.′ 2020).
                When psychological disorder and decreased perforrnance capacity clairns are both
                present′   use of separate relevant assessment methods is required to ensure overa‖
                validity,These issues are discussed more extensivety in the selfい   report section of
                vatidity testing with psychological and somatic disorderst


         Ma″                   eF to assessment or perror,"ance
              "9ering as app″
          o Malingering is a real phenomenon,the terrn will,at tirnes,be appropriate to use
                when exanlinations occur in a secondary gain contexto Findings that are signifi―
                cantly below chance or involve comperli″ ,9 ,ncoP,sと tenc/ (BianChini et al., 2005)
                reflect deliberate rYliSrepresentation of perforrnance capacityo When present, the
                irnprobab‖ ity of combined events can also reflect intent(Larrabee et al.′   2007)。
          ● Pertaining to perforrnance validity,comparisons of test perforrnances can be made
                、lvith regard toi gross disparity with rea卜 worid behaviors′ gross inconsistency with
                type or seventy of iniury′ gross direrences in beha萌 or when aware of observation
                versus not aware,and gross inconsistency across seriat testing that defies explan―
                ation as a genuine neurological or psychiatric conditiont When malingered perforrn―
                ance is present′ it rnay or rnay not explain the overa‖ presentation of the exanlinee
             and does not presumptively explain a‖ prior or subsequent exanlinee behavior.
          ● DeterFnination that performance is noncredible, invalid′ or irnplausible can be
             made reliably when there is evidence of negative response bias,PerForrnances that
                are not vatid cannot be used as bases for opinions regarding attribution′        nature
                and extent of denciencies and disability,and/or treatment considerations.



                                                     t/V′ peP'assess,"9
          ′ ,Ortance or eya′ vatin9 perrormance va″ ゴ′
            '
         perrOrmance capa6'tFes

        ・       Because specincity Of PVT measures is set to reduce false positive errors,a positive
                nnding prObabWistica‖ y rtr,es,n invalid responding′ but a negative nnding may not
                rure Out invatid responding (Ci Chafetz′ 2021). HoWever, a singie invalid PVT per―
                forrnance within a large test battery could indicate a transient vatidity problem
                (Lippa,2018)that might not support a general conctusion of rnalingering′ which is
                àbig picture′ decision based more broadly on a‖        available information′ inctuding
                test and non‐ test datao Moreover,as this decision is based on inforrnation beyond




Ex. 162, p. 14 of 54
                                                                 THE CLINICAL NEUROPSYCHOLOGIST (Ξ ) 1067


             just test findings,a deterFnination of rnalingering may be appropriate even when
             a‖   PWs/SVTs are passed,depending on the entire test data set,the fact pattern of
             events/iniuries in dispute,as we‖ as broader historical inforrnation.
         ●   Accurate resuits and interpretations require valid responding on eveり         performance
             measure, requiring use of muitiple validity measures throughout an exanlination
             (BOOne,2009b)。 The presence of invalid perorrnance at any point rnakes a case for
             a conseⅣ ative interpretive position that even valid‐ appearing perFor,nances may
             under― represent actual perforrnance capacities.



         Docw′                                         ∬ty assessment
                  "entatわ "or perrorma"ce va″
         o in their reports, neuropsychologists tist the PVTs and validity assessment proce―
             dures that are utilized in evaluationso Clinicians explain the bases of their opinions
             to the extent required by the context,white avoiding inctusion of specific inforrna―
             tion pertaining to these measures that could prectude or underrnine the validity of
             their future use.
         o Whether or not a determination of malingettngね made′ terms such as noncrettbt
                 ,and′ mp'9usble may be justried and can be used reliably on the basis of
            わya′ ′
             test resuits interpreted in the context of a specific case, When such terrns apply′
                                                                                     ″
             retated perfbrrnance data cannot provide a sound basis fori              (1)。 pinions with
             regard to attribution to the cause at issue(e.g.accident′        iniury),(2)the nature and
             extent of possible deficits and disab‖ ity,and (3)guiding treatrnent or evaluating
             treatment efFectiveness.″ (He‖ bronner et al.,2009,p.1104)



         ConsfFeration or eva′     vat′ On   co"text
         ● The base rate of negative response bias varies as a function of settingo Adults pre‐
             senting as litigants, defendants, or ctaimants in a crirninal′      civir Or disab‖ ity pro―
             ceeding or otherwise wkh modve to appear symptomatic (e,go aCademic
             accommodations′ drug seeking′ excusing frorn口 lilitary duty)shOW an increased risk
             (eog.Ardolf et al.,2007,Chafetz,2008,Greve et al.′ 2009,肘 littenberg et al.′ 2002).
             For this reason′ individuals seen in a forensic context should be adrninistered meas―
             ures that will assist in idend,ing or ruling out response bias(ci Bush et al.,2005)″
             (He‖ bronner et al。 ,2009,p。 1lo5)。
          o Routine clinical evaluations with aduits and ch‖      dren genera‖ y have a tower risk of
             invalid responding′  but the risk is not zero(BrOOkS et al., 2016, Kirkwood′ 2015aテ
             Rohling et al.′ 2015,'Ⅵ artin&Schroeder,2020)。 The need to ensure valid respond‐
             ing applies to a〃 cases.
          ● When the nature of daimed iniuttes of a padent seen in a rouune ctinical context
             could make that patient reasonably likely to become a litigant or ctairnant′ the ctin―
             ician should consider constructing an evaluation that is appropriate for the
             increased risk of response bias.
          ●Research has deaHy shown that′          absent rdttnce on PVTs,clinたコイァ
                                                                                 vす 9ment aS a
             basis for idendfying invalid performance is oRen inaccurate(Faust et al.′             1988,
             Heaton et al。 , 1978)。 As such, if neuropsychologists do not use vatidity tests′       they




Ex. 162, p. 15 of 54
         10680■        ■ SWEET ET AL



             are expected to document reasons for not doing so′              as we‖ as documenting the
             resulting lirnitations in vandly interpreting findings.
         ● The presence of cultural′ ethnic,and/or ianguage factors known to arect perforrn―
             ance resuks necesskates that clinicians adiust thresholds for identifン          ing response
             bias(Nり dam― JOnes&Rosenfeld′         2017,Salazar et al.′   2021)。



         New consensws cons「 Jera∬ ons

         An extensive literature (publiShed before and after 2009)attests to the continued
         erectiveness of stand― alone and embedded PVTs in discrirninating credible from non―
         credible presentations. This en∩ piricat research base has played a significant role in
         shaping the beliefs and practices of clinical neuropsychologists over tirne.For example,
         in the years fo‖ ovYing the 2009 consensus conference statement′           the two largest prac―
         tice surveys of ctinicai neuropsychologists to date show tremendous acceptance of
         PVT use and a growing cOnviction in the strength of belief in PVT uset Specifica‖                 y,

         with 1684 respOndents answering relevant items pertaining to PVTs, Sweet′                 Benson,
         Nelson,and Moberg(2015)found that 91.20/o of postdoctoral trainees′              88.50/o of practi―

         tioners with no forensic experience′ and 95。 10/o of practitioners with at least some
         forensic experience either″ agree″ or″ strongty agree″ that there is suricient empirical
         research and knowiedge to support the use of PVTs in practice. In a sirn‖                arly― sized
                                                                                  ″
         sample of 1699 respondents five years later(data co‖ ected in 2020)′                  agree″     and
         ″                                                                                                and
          strongly agree″ endorsements among these same three groups were 930/o,93.20/o′
                                                                                                  ′
                                                                                                  ′
         95。 30/o,    respectively (Sweet et al。 ′2021b)。 interestingly, in the category of        strongly
                  ″
         agree′      non― forensic practitioners increased from 45.90/o to 62.20/o and forensic practi―
         tioners increased from 64.50/o to 750/o relative to 2015,Only a singie individual in the
         2020 sample(1/1699)strOngly disagreed with the notion that there is sufFicient empir―
         ical research/knowledge to support PVT use in practice.Regarding actual use of PVTs′
         when asked in combination with SVT use,the 7.30/o of practitioners who in 2015 did
         not use either PWs or SVTs in c″ n,car practice decreased to 2.80/o, Related to Forens,c
         practice′    approxirnately onty 10/O of practitioners in 2015 and in 2020 did not use either
         PVTs or SVTs, In this regard, betiefs are genera‖ y comparable between those who
         engage in forensic practices and those who do not, with respondents who are
         engaged in forensic practice rnore often reporting that they rely on murtiple stand―
         alone PVTs and mυ                             /Ts in clinical and forensic cases(SWeet et al.′
                              'tipre
         2021b,Schroeder et al.′      embedded Pヽ
                                  2016)。
             The large practice survey findings in 2015 and 2020 are genera‖ y congruent、 A,ith
         other recent suⅣ eys that have exarnined PVT beliefs and practices among clinicai neu―
          ropsychologists who work with both ch‖ dren and aduits(BroOkSf PIoetz′              &Kirkwood,
         2016, Martin et al.′      2015), and fOrensic neuropsychology experts(SchrOeder et al.′
          2016). ConSidering a‖ of these relevant survey results in aggregate, it is ctear that′
         among postdoctoral trainees and specialty practitioners′ there is a neて ,r ittn,yersτ ]￨
         accepttlnce of the need to use stand― alone perforrnance validity measures a′ ,J
         embedded validity indicators in clinicalて ,nJ forensic evaluationso Retated′ an increasing
          maiOttty of Pヽ ′
                         T research studies are now being carried out with clinical samples,not
         ヽ
         Alith mostly forensic samples as had been the case in the past(Suchy′           2019)。




Ex. 162, p. 16 of 54
                                                                     THE CLINICAL NEUROPSYCHOLOGIST 0 1069


              As discussed in the originai consensus conference statement′         clinicians are expected
         to encourage examinees to perform to the best of their abilities on neuropsycho‐
         bgicai tasks,andP in fact recent suⅣ ey data show that the vast maiOriv of Ctinicat
         neuropsychoiogists″ oRen″ or Talways″ encourage exarninees to監 り their best'(BroOkS
         et al., 2016, Martin et al,, 2015, SchЮ eder et al., 2016), Such encouragement is
         expected to be consistent、 ″ith and not deviate frorn standardized test instructions,
         Practices that        from standardized instructions
         fe                        mpacting the
         not apply in contexts in which exanlinees are provided with inforrnation that was not
         provided to participants during validation studies, PVT efFectiveness requires that
         examinees are unaware of their purposes and outcomes,This is genera‖ y true of a‖
         neuropsychological and psychological tests― exanlinees should be essentia‖ y naⅢ e to
         specific tests,with the obvious exception of serial assessmentso in this vein′ exanliners
         can consider a generat admonition to exanlinees that iack of candor and accuracy in
         seif―   report or not demonstrating best ab‖ ities may negatively arect the examin―
         ee′ s ciairn。

              Verification as to whether exarninees are performing to true ability in a‖         neurocog―
                   l areas requires use of multiple measures that cover various neurocognitive
          nitive sk‖
         domainst in adult practice, we‖ ― validated PVTs are ava‖ able that assess inte‖ ectual
         function′ memory′ processing speed′ attention/working memory,visual perceptua1/spa―
         tial sk‖ Is,tanguage,executive      skilis,and sensorimotor functiono Such measures can be
          usefui because invalid perorrnance can take many forrns,some individuals may feign
          memory irnpairment, whereas others may feign irnpairrnent in processing speed or
         attention.Rapidly evolving PVT research has been validating perforrnance validity cut―
         ofFs for rnany standard neuropsychological instruments,CIinicians are expected to be
         knowiedgeable regarding the validity indicators ava‖ able for the neuropsychological
         tests they employ, inctuding whether the indicators are relevant,as vve‖              as how they
         are to be applied, to the clinical disorder under consideration. it is preferable that
          ctinicians attempt to select PVTs with the highest sensitivity tO invalid test perForrn‐
          ance,while maintaining acceptable specificity,which is cornrnonty set at 900/0。
              Single PVT failures can be found in credible patients and′ with the exception of per―
         forrnance significantly betovv chance on a forced choice measure′             should not′ in isolaい
         tion′      be used to conctude that rnalingering is present(VictOr′     Boone,Serpa′ Buehler′    &
          Ziegler′     2009).COnversely′ rnultiple PVT fa‖ ures are not observed in credible popula―
          tions,even those with cognitive impairrnent(Critchfield et al.′          2019),With the excep―
          tion of exanlinees who have we‖ ―
                                          documented severe functional disabitity (e.g.
          dementia)(e,go Davis & ヽ
                                 /1i‖ is,       2014)。   Even in dementia patients and patients taking
          antipsychotic medications(Ci Ruiz et al., 2020), thresholds for identification can be
          moditted to maintain adequate specificity′ such that multiple PVT faitures provide
          increasing evidence of performance invalidity (「 uartin et al., 2020)。 Ennpiricat research
          currently does not support interpretation of rnultiple PVT failures as due to depression
          (Guilmette et al., 1994,Green&Merten,2013),anxiety(Marsha‖                   &Schroeder,2021)′
          pain (Gervais et al。 , 2004, Greve et al.′ 2018)′ fatigue (Dorociak et al., 2018, Kalfon
          et al.′    2016)′   PTSD(Demakis et al.′   2008)′   mediCation erects(e,9。   SChroeder&Martin′
          2021a), or Other putative conditions that 何light inaccurately be used to nlinirnize or
          explain away PVT nndings(Green&Merten,2013,Schroeder&「                   Ⅵartin,2021a).




Ex. 162, p. 17 of 54
          1070       J.J.SWEET ET AL.
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             Norrnat or even high scores′        on some standard neurocognitive tests within a bat一
         tery do not rule out the presence of rYlalingering′ as a sophisticated noncredible test
         taker may selectively choose tests on which to underperforrYl Within a neurocognitive
          battery, rather than electing to perforrn poorly on a‖        tests(Boone′ 2009b). It iS also
         we‖ recognized that an invalid presentation can be observed even when tangible
         external incentives rnay not be read‖ y identified.
             Given that PVT efFectiveness is contingent on the naivetる of test takers regarding
         these tests′ ctinicians should be vig‖ ant regarding protection of perforrnance validity
          indicators.In particular′     inforrnation such as test instructions and stimuli,scoring meth―
          ods, and interpretation strategies and algorithms are to be withheld from non―
          psychologists.
             As noted previously, there continues to be consensus that malingering is a valid
         concept for which there are identined criteria. Noting that applicable law and rules
         afFecung limtts of expert testimony from neuropsychologists can vary from one,uris―
         diction to another(ci Richards&Tussey′ 2013),in sOme practice tocales and settings′
         practitioners may be advised to use alternative terrns in expressing their diagnostic
         conclusions regarding the topic of rnalingering. That is′          U.St,urisdictions direr with
          regard to laws that may defer conctusions regarding the topic of malingering and
          related terrns to the trier― ottfact′ rather than to expert opinion (ctt Kaufrnann′        2012).
         As local law and related courtroom procedures evolve over tirne′         practitioners are
         advised to keep abreast of current practice expectations and rules of adnlissib‖ ity that
         determine lirnits of opinion witnesses,and,as appropriate′          rnay need to convey results
                                                                        ″
         descriptively′    retying on more general terrns,such as       invalid″   and″ noncredible,″   it is

         also not appropriate to label a ciairnant as having cornrnitted″          fraud″   on the basis of
          PVT findings,as a finding of fraud is a legal deterrnination not rnade by a practitioner.
             it is we‖    recognized that invalidity can be observed′       albeit less often′   even when
         tangible external incentives may not be read‖         y identified.AIthough PVTs vvere origin―
         a‖ y    devetoped and researched with a focus on forensic contexts′ there is now a more
         explicit and growing appreciation that PVTs are needed in assessments in routine clin―
         ical contexts as we‖ (SchrOeder& Martin, 2021b). Clearty encouraged in the original
         2009 consensus conference statement′ there is currently even more reason to believe
         that perforrnance validity testing is needed in a‖ cases′ 、
                                                                   ハ′
                                                                    hether ctinical or forensic,
         For example,「 uartin and Schroeder(2020)surVeyed practicing neuropsychologists,the
         maiOHty of whom were board cerdned,regarding invalid responding in clinicai non―
         forensic caseso Survey participants reported a general estimate of an invalid 「esponse
          rate of 150/o, However′ with more specific questioning, subsamples of clinicai non―
         forensic cases were estimated to range fronl invalid response rates of 50/o to 500/o′
         depending On case― specific circumstances, Notably higher estimates were noted for
          patients with somatic symptom disorder, conversion disorder′                  ″
                                                                                    and medica‖ y unex―
          plained symptoms,″ as we‖ as patients not currently invoived in pursuit of external
          incentives(i.e. nOt presently being evaluated in a secondary gain context), but who
          had the potential forf or、 ′
                                     vere considering,such pursuit.in this regard′           the NAN pOs―
                                   ′
          ition paper on the       rnedical necessity' of validity assessment(Bush et al.′       2005)and
         AACN Practice Guidelines(2007)continue to orer sound guidance supporting the
         evaluation of vatidity in a‖ neuropsycho10gical evaluations,And′ vvithout question′ in




Ex. 162, p. 18 of 54
                                                                 THE CLINICAL NEUROPSYCHOLOG15T (Ξ ) 1071


         2020′   pOstdoctoral trainees and practitioners in ctinical neuropsychology are adhering
         to this guidance(SWeet et al.,2021a′      2021b)。
             in the 2009 consensus conference statement′ the criteria for rnalingered neurocog―
         nitive dysfunction authored by Slick et al。 (1999)Were viewed as influential and a posト
         tive step toward improving diagnostic agreement across clinicians,That viewpoint has
         not changed. Recentiy′ the so― ca‖ ed rSIick′ criteria have been updated by the original
         authors(Sherman et al。 ,2020),and redtled as ctttertt for malingered neurops/cん ο―
         rOg,c9, dySfunctionf rather than neurocog′ ,,tiye dysfunction. in the intervening years′
                                                             in some sense′ reconsidered by a
         the originaI Stick criteria had been scrutinized and′
         number of expert authors, including the original authors, often related to forensic
         application(ci BOOne′      2007,Larrabee et al.′    2007,Stick&Sherman,2012,2013).There
         has been generat agreement that the original Stick criteria needed modification,
         related to a number of issues,stated by the authors as includingi being focused on
         erOrt, rather than compliance, being overly focused on cognitive malingering, as
         opposed to psychological and somatic malingering,which are also addressed by neu―
         ropsychologists, not giving enough consideration to sel手 ‐ report inforrnation′ and too
         narrowly relying on forced― choice procedures as definitive evidence.Other sections of
         this consensus conference statement wili add「 ess applications to non― perforrnance―
         based testing.
            Regarding perforrnance― based validity assessment′ there is consensus that the
         updated criteria from Sherman et al。  (2020)o「er guidance that is′ in part,consistent
         with current conference participant views, inctuding:(1)diStinguishing betvveen PVTs
         and SVTs,(2)broadening the consideration and scrutiny of self― report inforrnation in
         the context of other sources of rea卜 worid exarninee inforrnation(eogo medicat records′
         video and social media)and expected disease course,(3)being in accord with the
         prior 2009 consensus conference statement support for the concept ofザ compe‖ ing
          inconsistencies′ ,(4)expanding the range of external incentives from purely compensa―
         tion― seeking,(5)acknOWiedging
                                      that malingering presentations can involve rnixed
         symptoms(eog. twO or more of cognitive, somatic′ or psychiatric presentations),(6)
          recognizing that both PVT and SVT resuits can shed light on the validity of cognitive
         tests,(7)acknOWiedging that sirnulation studies alone are not sufficient for the valid―
         ation of PVTs/SVTs and that known― grOups studies are necessary for their validation,
         (8)acknOヽ ′
                   Vledging the strength of evidence for PVTs/SVTs fa‖ ed at cutors with looO/0
         specificity, and (9)noting that surpassing thresholds on multiple PVTs can have an
         erect On neuropsychological perforrnance that is indistinguishable frorn significantty
          belowv― chance   perForrnance on a single PVT。
             AIthough in many ways compatible with consensus participant views′            there is con―
         cern regarding a few points made in Sherman et al。           (2020).For example,their new
         diagnostic criteria require evidence for″marked discrepancies″ (e.go diSease course and
          symptoms not consistent with clairned condition′ etc.)in addition to external rnotive
         to feign and fa‖ ed PVTs and elevated SVT scores,AIthough such information is found
          in the targe ma,ottty of cases′    and is pardcularly compelling when present,h is pos―
          sible that in some situations in which there is a paucity of records′     it may not be pos―
                       y document″ marked discrepancies.″ However,there is consensus that
          sible to forrna‖
          external incentive and muitiple fa‖ ed PVTs point strongly to a noncredible




Ex. 162, p. 19 of 54
          10720■     i SWEET ET AL


         presentation that may indicate malingering, if presence of a genuine marked func―
         tional disab‖ ity can be ruled out.



             すona′ new consensws co"s′ Ferarons For peJ′atr,c Pracrce
         A∬ ゴ′

         Attention to validity testing in pediatric pOpulations pales in comparison to that in
         aduits, which is why the 2009 consensus conference statement did not substantively
         address pediatric issues. However,the pediatric empirical literature on validity assess―
         ment and malingering has now grown large enough to support a recornrnendation
         that practitioners should use PVTs routinely in neuropsychological evaluations of
         schoo卜 aged ch‖ dren and adolescents.This recornrYlendation is supported by the foト
         lovving pOints(Kirkwood, 2015a):(1)a sizable developmental psychology literature
         demonstrates that increasingly sophisticated deceptive behavior occurs throughout
         childhood and into the adolescent years,(2)as children become older′ even professio―
          nais have difFiculty subieCtiVely idendfン ing decepuve behavior,similar to what is
         apparent for aduits,(3)both Case reports and case series have documented that chil―
         dren can′ and do′ feign many types of physicaL psyChiatric′      and cognitive dif￢ culties
          in healthcare settings,(4)althOugh case series indicate that noncredible responding
         does not cornrnonty occur in most pediatric ctinicai neuropsychoiogical settings′        it
         does happen consistently,(5)certain pediatric populations have been found to be at
         elevated risk for noncredible responding (e.go youths seen for persistent problems
         after concussion and for SociaI Security Disab‖ ity deterrYlination evaluations),(6)a
         number of embedded and stand― alone PVTs are now we‖ ―    validated for use in schooト
         aged ch‖ dren (ci Ctark et al.′ 2020, Colbert et al.′ 2021, Kirk et al.′ 2020, Kirkwood′
         2015b),and(7)despite the fact that we‖ ―   established PVTs are insensitive to a‖ but the
         most severe abitity― based deficits′ PVT failure in ch‖ dren, sirn‖ ar to what has been
         found in adult populations′ accounts for substantial amounts of variance on perForm―
         ance― based testst
            Motivations underiying noncredible test perforrnance vary.in adult populations, a
         cornrnon explanation is malingering when external incentives are readily identified。
          However′ whether children malinger relates to their developmental capacity to under―
         stand the consequences of their behavior′      as we‖ as the array of incentives that they
          may be seeking.Ⅳ lany of the motivators in cornrnon descriptions of malingering were
         written with aduits in mind(e.g.financiat compensation,avoiding work′        evading crim
          inal prosecution)and can be expected to occur less frequentty in pediatric popula―
         tions. It is innportant to notef however′   that noncredible perforrnance sti‖ happens in
         child and adolescent evaluations,When it does,practitioners should consider external
         incentives that may be more relevant to youth populations in attempting to under―
         stand the behavior. Motivators such as avoiding schoolwOrkr Securing acadenlic
         accornrnodations, avoiding social stressors(e.g. bu‖
                                                           ying)′ or getting out of a sport

         commttment are,uSt a few,When working wkh children and other vuinerable popula―
                  〃
         tions′   malingering by proxy″ must atso be considered as a possible explanation for
          noncredible presentations.Malingering by proxy occurs when an individual is coerced
          into noncredible behavior by a caregiver/parent for purposes of external gain.
          Factitious disorder,driven by the youth or a caregiver,may also help to explain some




Ex. 162, p. 20 of 54
                                                                    THE CLINICAL NEUROPSYCHOLOGIST (こ ) 1073


          noncredible behavior in pediatric settings, inctuding the type of behavior associated
         wК h      Pヽ /T failure(Chafetz et al。   ,2020).
             Engagement with perforrnance― based testing can wax and wane for various reasons
          (e.g, fatigue′     attentional deficit), with natural fluctuations more cornrnon in certain
         exarninees,including childreno An important distinction is whether the perforrnance is
         credible or noncredible′         given the individual's developmental′     neurologic,and psychト
         atric status.The use of we‖ ―
                                     established PVTs is a primary means of rnaking this distinc―
         tion′     as natural fluctuations of variables that impact task engagement do not typica‖             y
         cause PVT fa‖ ure.


         Fvture researc′ ,J′ recrO"s For Py「 app″ caron

          By definition′     rnalingering is an intentional act of deception regarding i‖    ness or impair―
          ment of function,The very nature of known (criteriOn)groupS research permits the
          inference of rnalingering via the development of accuracy statistics for PVTs and SVTs,
         The known― groups forrnat relies on the use of established guidelines(e。 9, Sherrnan
          et al。 ,2020)for     the identification of the malingering group in the development of a
          PVT/SVTo When the finding frorn a PVT/SVT is obtained in a new individual case′       these
         error rates are then applied to update the probability of rnatingering in that individual
          case froryl the basehne probab‖ ity of malingeringo Thus′            the known― groups research
          design′ with its adherence to established guidance for the identification of the malin―
          gering group′ perrnits an inference about this intentional act of deception.
             Since the 2009 consensus conference statement, research into vandatiOn Of
          embedded PVTs has been particularly prolific′          and future research should continue to
          develop validated perforrnance validity measures for virtua‖              y a‖ standard neuro―
          psychological rneasures so that performance validity can be evaluated inザ            real time′ for
          every test,Validation of increasing nurnbers of embedded PVTs results in an increasing
          amount of PVT data available within each neuropsychological evaluation. In general′
          as PVT fa‖ ures increase in numbers within a single evaluation,there is increasing con―
         fidence regarding the presence of invalid responding.Research has shown that use of
          increasing numbers of PVTs raises the false positive rate only stighdy(Davis&A′               li‖   is,

          2014,Larrabee et al.′ 2019)′ but additional research is needed to guide the clinician in
          hovv to interpret results of large numbers of PVTs, For example′             prelirninary research
          shows that if data from nine PVTs are employed′          fa‖   ure on one is expected in credible
         test takers(Davis&Millis,2014),therefore,two or rnore fa‖                ures rnight be consistent
         with invalid performance.Because there are sti‖           Hlinirnal data regarding the expected
          number of fa‖ ures when more than nine PVTs are faned,we dO not have consensus
          regarding specific interpretive implications related to the number of invalidated PVTs
          among the totai number of PVTs adrninistered′ when a high number of PVTs is adrnin―
          istered.In this regard′      the current consensus panei believes that the specific ratio rec―
          ommendadon made by Sherman et al。 (2020)is premature.
             More research is needed to demonstrate the base rate of noncredible responding
          and PVT classification statistics across(a)chHd Samples ranging more widely in ability
          level′    (b)presenting condition′ and(c)eValuative context(e.go SOme ctinical,forensic′
          and school settings)。        The base rate of noncredible findings in ch‖ dren brought by




Ex. 162, p. 21 of 54
          10740■        i SWEET ET AL


         caregivers/parents for SociaI Security disability evaluations has been examined
         (Chafetz′ 2008)。 Guidelines for mandated reporting of child abuse/neglect due to
         malingering‐ by― proxy have been established(Chafetz&Dufrene′ 2014).
             Additional research into new PVTs for ch‖ dren and adolescents is in order′ to estab―
          lish a more complete armamentarium of pediatric― specific measures sim‖ ar to that
         which is ava‖ abie for exarnination of adultso To ensure that repeated monitoring of
          performance validity can occur throughout evaluations of ch‖ dren and adolescents
          requires availability of multiple embedded PVTs. Test publishers and independent
          investigators are encouraged to develop post― release research on new pediatric tests
         to develop embedded PVTs across perforrnance― based test domains,
             Although a longstanding and irnportant historical issue, it is with increased
         emphasis that vve view test security as one of the most critical issues in performance
         validity testing at the present tirne. Future research should focus on development of
         performance validity assessment methods that are robust to test security violations.
         Tests ad口linistered by connputer orer potential in this regard, For exannple′         a com―
          puter― adnlinistered     task may not be harrned by a court order that a‖      ows audio or
         video recording of an exarnination. AnoreOver, computer― adrYliniStered PVTs need not
          produce forrnal test Jat〔 I    sん eets,   in which case court orders to release this specific
          inforrnation would not result in divulging the levei of test inforrnation that would
         cause harrn to future test use, if released to non― psychologists.The general develop―
          ment of standard test data sheets that do not inctude test stimuli,instructionsr Scoring
          methods, and other inforrnation that would invalidate future test use if released to
          non― psychologists is also strongly encouraged.
             Research is also needed to develop perforrnance validity assessment methods that
         are particularly robust to coaching. Examples of such methods inctude the fo‖          o、   ′
                                                                                                     vingi

          (1)COmbining scores across various tests to detect noncredible patterns of scores′           via
         statistical approaches such as logistic regression′      that incorporate both intact and iow
         scores(i.e. patterns of intact and irnpaired scores can likely be identified in patients
         wkh actual brain dysfunction that are not mimicked by test takers who are feigning)′
          (2)perfOrmance validtty methods that employ automatic pHming paradigms that are
          perforrned norma‖ y by patients、ハ
                                          ′ith severe memory impairment,but are abnorrnal in
         test― takers   feigning in∩ pairment because the types of responses found in patients vvith
          brain dysfunction are less obvious and intuitive′ and (3)routine incorporation of
          response times in PVT paradigms′ because tirne scores have been shown to add to
         test sensitivity(Kanser et al.サ 2019).



          Seif― report     of psychological and somatic symptoms
                                       e2009 consensws comrerence stateme"ど
         κey pof打 佑 rearrirneJ rrom t′ 〕

          Psychological′
                       somatic′ and cognitive complaints are core diagnostic criteria for the
         disorders and conditions delineated in the Diagnostic and Statistical Manual of the
         American Psychiatric Association(DS的 1‑5,American Psychiatttc Association′ 2013).This
         section of the document represents an update to the 2009 consensus conference
         statement(He‖ bronner et al., 2009)′ WhiCh remains foundational in its content and




Ex. 162, p. 22 of 54
                                                                THE CLINICAL NEUROPSYCHOLOGIST 0 1075


          recornrnendationso The foHowing relevant points from the origina1 2009 consensus
          statement are reafFirmedi


          o Seif― report     of psychological and somatic symptoms may be biased′        exaggerated′
             rninirYliZed′   or false.This potential of rnisrepresentation is especia‖ y true in com―
             pensadon… seeking assessment contexts.Genuine psychopathology/somauc symp―
             toms may co― exist with exaggerated or feigned symptoms′ and exaniiners should
             attempt to direrentiate one from the other to the extent possible.
         o Wel卜 validated obiecuve measures should be utilized for assessing sel←  reported
            somatic and psychO10gical problems. The degree of the exanliners confidence
             regarding assessment conctusions depends on the absence or presence of response
             bias as demonstrated on multiple′ validated assessment measures. Assessment
             instruments providing the most scientifica‖ y supported and current rnethodologies
             should be ut‖ izedt
         ● Cognitive, somatic, and emotional complaints are cornrnon in individuals under―
             going forensic assessment′ and those domains require validity assessment and ana―
             lysis。 ,酬   uitiple symptom validity measures(eogo muitiple validity scales contained
             within a broad personality test or multiple symptorn self―     report tests that contain
             validity scales)ShOuld be utilized during the evatuation,When available and rele―
             vant′   exanliners are encouraged to use actuaria1/base rate data in their analyses
             and deterrnlnations,
         o Thorough consideration of the exarninee′ s history and cuitural and ethnic factors
             remains foundational in a‖      determinations of genuine versus invalid selF‐ reporting
             of cognitive′ somatic′ and psychological complaints.
         ● As noted in the 2009 consensus statement and sirnHarly retained within the section
                                                                             ″
            of the current statement with regard to assessment of ab‖ ities′ It is the totality of
             the exarninee′ s presentation that should be taken into account when assessing the
             validtty of daims of psychopathology and disabilkノ impairment″ (Heilbronner et al.′
             2009,p.1112)。


         Nev consensws cottS「       Jerarons
         Symptom and performance validity assessment is a critical compOnent of the standard
         of care in forensic and clinical assessment contexts, as neuropsychologists recognize
         the need for confidence in the self― report data co‖ ected from exarYlinees.[xarYlineeS
         presenting with histories and/or seif― reports of psychopathology are coHlrnon in both
         ctinical and forensic neuropsychological assessment contexts.It is we‖      established that
         SubieCdVely― reported complaints of cognitive dysfuncdon may be associated wК         h psy―
         chiatric symptoms(ctt Markova et al.′        2017)and aCtual cognitive dysfunction may
         accompany or result from extant psychiatric i‖ ness(East‐ Richard et al.′ 2020)。 Research
         shows a relationship between perforrnance validity assessment and symptom validity
         assessment′ indicating that cognitive and psychiatric feigning are related (BianChini
         et al。 ′2018,Gottfried     &Glassmire,2016), HoweVer,although there is some evidence
         that fanure On PvTs is associated with exaggeration′ as indicated by specific SVT scales
         (Larrabee et al。 ,2017),failure on one does not necessarily predict failure on the other




Ex. 162, p. 23 of 54
          10760■      i SWEET ET AL


          (Van Dyke et al.′      2013)。   MoreOVer,scores on SVTs or PVTs rnay be domain specific.For
          example,an exanlinee may exaggerate or feign cognitive complaints wh‖                e rninirnizing
          or denying psychological or somatic complaints。
            There is a dive「 sity of disorders seen in forensic and clinical settings,Forensic cases
          range frorn those with a high base rate(e,9.SOmatiC Symptoms,anxiety,and depres―
          SiOn)tO thOse that are somewhat rarer(e。 9,SChizophrenia′ bipolar disorder),while in
          ctinical contexts attention― deficit/hyperactivity disorder(ADHD)and learning disorders
          (LD)are cOrnrnon′ especia‖ y in schoo卜 aged children and young aduits,Just as in the
          assessment of neurocognitive perforrnance′ neuropsychologists endeavor to evaluate
         the accuracy(ite,Validity)Of exa向 linees′ symptorn reports with regard to the presence

          of a diagnosable condition′         its severity′   and potential erects On functional status and
          behavioro SubiecuVely reported psychiatttc,somaticr and cognhive symptoms require
          ObieCdVe validtty analysis,and examiners are encouraged to be aware of possible
          symptom rィ linimization′ denial,magnification′ or feigning.


          Overyた v oFsomat,cs/mptOtt J′ sOrJe/s
         Somatoforrn disorders represent a category of psychopathology genera‖ y fa‖ ing in the
         domain of ′  unexplained medical ‖Iness′ (Ci Carson et al.′ 2016, Scamvougeras &
         Howard′ 2018),Such diSorders are cornmon′ representing 200/o to 300/o of generat rned―
          ical and neurologic patient visitsf respectively(BOOne′ 2017)。 As a category′ these dis―
         orders share the comrnonality that a medica1/physiological cause for the reported
         symptoms has not been deterrnined or does not fu‖ y account for the condition
         (Arnerican Psychiatric Association,2013)。 Relevant to the present consensus statement′
         validity testing has been found to make an irnportant contribution in evaluations of
          individuals、 Alith medica‖ y dif￢     cult― to‐ explain   and unexplained medical symptoms(e,g.
         Kemp et al。 ′2008,Lockhart&Satya― MurtⅢ 2015)
            There are numerous forrns of somatic symptom disorders that are accompanied by
         syn∩ ptomssuch as excessive ‖iness― related anxiety, pain′ weakness/paralysis, speech
         symptoms, and sensory symptoms. For example′ individuals with chronic pain corn
         monty present in neuropsychological assessment contexts, onen with comorbid psy―
         chologicat cOgnitiver and/or other somatic symptoms(Greve et al.′          2018, Sherman
         et al.,2020)。   Seif‐   reported pain symptoms may be exaggerated and/or rnalingered(i.et
         Malingered Pain Related Disab‖ ity[MPRD]BianChini et al.′ 2005)′ requiring thorough
         validity assessment.There is also ample research evidence that′ in addition to over―
         reporting symptoms of pain′ such exarninees may also over― report or feign cognitive
         and/or psychological symptoms(Bianchini et al.′              2005,Greve et al.′ 2013,2018).
                                                   ′
            There are also unexplained              disorders′   , such as toxic mold syndrome′    multiple
         CherYliCal sensitivity,sick building syndrome,chronic fatigue syndrome′             and fibromyal―
         gia′among others(Boone,2009, Boone′ 2011,Henry et al。 ′2018,「 ⅥcCarrey&Yantz′
         2007,Suhr&Spickard,2007).PsychOgenic non― ep‖ eptic seizure(PNES)disorder repre―
         sents a particularly interesting somatoforrn―type iliness, as it can occur in individuals
         with genuine seizure disorders(Locke et al.,2017,Wi‖ iamson et al,′ 2015)。 Related′ an
         irnportant point of consideration is that a somatic symptom disorder can be comorbid
         lA,ith genuine medical and other rnental disorders,




Ex. 162, p. 24 of 54
                                                                  THE CLINICAL NEUROPSYCHOLOGIST (Ξ ) 1077


            Post― concussion syndrome(PCS)′  a term that some providers apply when there is a
         persistent symptom ctuster that follows after mild traumttic brain iniury(mTBり ′iS              a

         disorder that is accompanied by multiple non― specific somatic′          emotional and cognト
         tive features(BrOShek et al.,2015).The etiOlogy of PCS is rnost often deterrnined to be
         muitifactoriaL and′ When chronic′ cornrnonty believed to be primarily psychological
         (Belanger et al。 ,2018,Iverson′ 2012,Ponsford et al.′      2012,Wood et al。 ,2014).Notably′
         non― brain in,ured ind沖     iduats have been found to report the same symptoms′             with
         comparable frequency and severity (eogo Kashiuba et al.′           2004, Mickeviこ iene et al.′
         2004,Lange et al.サ      2020).The Sequelae of concussion on somatic′       cognitive′ and emo―
         tional functioning are considerably contentious in litigation contexts and tend to be
         primarily represented by two opposing pOints of viewi those who view concussion as
         directly leading to long― terrn cognitive, emotionalr and somatic symptoms versus
         those who view outcome frorn concussion as benign and iong― terrn symptorn report
         as due to other factors,AIthough considerable research indicates that the vast rnaJor―
         ity Of Rlildly concussed individuals return to baseline, most often within the initial
         days and weeks after in,ury′          wkh fewer requittng as much as a month or two after
         iniury(Belanger et al。 ′2018,Dikmen et al。 ′2010,McCrea′ 2008),a very small percent―
         age of aduhs condnue to report subieCt彬           e lingeHng symptoms(IverSOn′ 2007,Lange
         et al.′    2012,RufF et al.′ 1996)′    even When obiect抒 e neurocognhive testing is normal.
         Critical to the present discussion is the repeated empirical finding that litigation
         increases the likelihood for invalid symptorn report(French et al。        ′2018, Lange et al.′
         2010,Vanderploeg et al.′ 2014)。
            Over― reporung Of phySical symptoms is a common feature of somatic symptom pre―
         sentations in forensic contexts and other contexts in which external incentives are pre―
         sent. invalid responding on SVTs among these individuals is cornrnon and is
         associated with exaggerated and noncredible subiect抒 e reports of somattc symptoms
         (Wygant et al。 ′2007,Wygant et al.′ 2009,Boone′ 2017′ 2018)。
            Factitious disorder rYlay be conceptualized as somatoforrn― like in that in both disor―
         ders′     individuals organize their lives around the assumption of a sick role identity and
         toward seeking medical care(BOOne′           2013,2017).The main direrence is that individu―
         als with factitious disorder knowingly feign i‖     ness,ostensibly for attention and even in
         the absence of an apparent external incentive,whereas somatoforrn patients beheve
         they are actua‖ yi‖ (Krahn et al。 ,2008)。 Children have also been known to feign i‖         ness′
         present vvith factitious disorders,and be negatively influenced by coaching frorn a par―
         ent or other family member(via proxy)(e.go Shaw et alサ           2008),While survey research
         indicates that pediatric neuropsychologists tend to utWize SVTs in both forensic and
         ctinical assessment contexts(BroOkS et al., 2016)′
                                                         data Suggest that use is iower for
         some ch‖ d referral questiOns,such as ADHD(DeRight&Carone,2015),and that there
         are tirnited data on the validity of pediatric SVTs for neuropsychological presentations
         (Kirkwood,2015b),
            AIthough some debate continues as to whether factitious disorders and frank
         malingettng are disunct Or really one― in― the― same(MCCullumsmた h&Ford′ 2011),SOme
         professionals(and the DSA′ l‑5)take the position that the locus and type of incentive
         (eXternal vs, internaり Suggests that they are distinct.Others′        however′ point out that
         adoption of the sick roler a typical internal incentive,corYlmOnly brings with it e)(ter′      ,9,




Ex. 162, p. 25 of 54
          10780■      ■ SWEET ET AL



         incentives(e.go aVOidance of responsibility,Bass&Wade′           2019)。 Neverthetess′ both fac―
         titious disorder and malingering share the cornrnon feature of votitionai noncredible
         symptom reporting (1.e。 〃′ ,ess Jecept′ on)(Chafetz et al., 2020)。 Attempting to lend
                                    ′
         greater clarity to the diagnosis of factitious disorder than is found in the DShn,Chafetz
         and co‖ eagues recently proposed diagnostic criteria and a heuristic for relevant
         research on this topic(Chafetz et al.′     2020)。



         Oyer"ew orps/cr,0′ 。9′ car J,sOrrers
         There are muitiple psychological disorders that share anxiety as their corYlmOn feature。
         Annong these disorders are generalized anxiety,phobias′           and panic attacks.Exarninees
         may manifest any number of symptoms from the general domain of anxiety.
         Moreover, anxiety is also a frequent conconlitant in other mental disorders and is
         encountered in many forrns of cognitive irnpairmento Anxiety is often identified in
         neuropsychological assessment contexts′        either as the main presentation′ or comorbid
         with cognitiver rnedicaL and/or rnental health disorders,AIthough cognitive complaints
         are cornrnon in individuals with anxiety disorders′          there is tittle evidence for actual
         cognitive impairrnent′ despite these complaints(MutChnick&Wi‖              iams′ 2012,Kiz‖ bash
         et al.,2002,Gass&CuHel′        2011)。   The frequent discordance between subiect"e cOgni―
         tⅣ e   complaints in anxious patients and their obiecdve ttndings is typically not a sum―
         cient basis for questioning test response validity(i.e.test findings are often normaけ .in
         some cases, panic disorder, phobias, and obsessive― compulsive disorder may arect
         cognition(Airaksinen et al。 ′2005,Kuelz et al.′ 2004).In suCh instances′ results of valid―
         ity testing w‖ l be important in deterrnining interpretation of findings,
            One of the more prevalent disorders seen in compensation― seeking assessment con―
         texts is posttraumatic stress disorder(PTSD).As with any mental disorder′           information
         concerning its symptoms and presentation can be eas‖            y researched′ providing fodder
         for exanlinees wishing to overreport or overtly feign symptoms,Research indicates that
         PTSD is particularly easy to feign(Ray,2014,「 酬atto et al.,2019)。 Nevertheless,symptom
         overreporting can be psychometrica‖ y identined′ utilizing comprehensive validity ana―
         lysis(Andrikopoulosf 201 8,Andrikopoulos&Greiffenstein′          2012,Goodvvin et al.′ 2013).
            Depressive disorders are cornrnon and span a range frorn m‖             d to debilitatingo As
         with most mentat health disorders,depression may present as a distinct diagnosable
         disorder(e.go Maior Depressive Disorder,Persistent Depressive Disorder),or may pre―
         sent comorbidly with other mentat health disorders(e.go substance abuse)or medical
         disorders such as chronic pain or chronic i‖        ness.Like PTSD and other mental disorders,
         depression is relatively easy to exaggerate and/or feign (MariOn et al.′                 2011)。
         Depression and depressive features have inconsistently been found to be associated
         with cognitive dysfunction (e.g, Murrough et al。 ′2011, A′ larcopulos, 2018), and may
         increase rnisdiagnosis of cognitive irnpairment(e.go Edmonds et al.′ 2014), pOsSibly
         because performance validity is not always exanlined in published research studies
         (Green&Merten,2013),As vvith anxiety,the mere finding of a discordance between
         SubieCtⅣ e complaints and obieCt抒 e nndings′ which may be normaL iS nOt suFicient in
         idend,ing inValid respondingo instead′ resuks of validК y testing will provide better
         guidance for interpretation.




Ex. 162, p. 26 of 54
                                                                  THE CLINICAL NEUROPSYCHOLOGIST 0 1079


             Psychotic disorders are somewhat iess cornmon in neuropsychological assessment
          contexts and are primarily seen when acute symptoms have resolved.Both bipolar dis―
         order and schizophrenia may impair cognitiOn(COtrena et al.,2017,「 uarcOpulos,2018).
         There is tittie doubt that psychotic symptorn reports can be exaggerated, although
          successfu‖ y feigning a psychotic disorder may be more difficuit′         but discernible by an
          experienced exarniner(Morgan et al。 ′2009,Resnick&Kno‖ ,2018).Nevertheless′ exag―
          gerated ctairns of severe psychopathology and/Or malingered psychosis a「                 e not
          uncornrnon in the crinlinal forensic setting (Denney, 2008). Use Of specific validity
          assessment instruments and scales to idendfy symptom over―            reporung in such assess―
          ments is indicated(Arbisi&Ben― Porath, 1995,∫Ⅵarion         et al,′   2011,Neison et al.,2010,
          Rogers et al.サ 2010,Sharf et al.′   2017).
            Ch‖ dren, adolescents′ and young aduits may present with any of the previously
          described disorders′ as we‖ as disorders that are more cornrnon among this age
          groupo Persons with known or suspected ADHD and LD are often referred to neuro―
          psychologists for assessmento ADHD typica‖ y manifests cognitively as impaired atten―
         tion and executive dysfunction, whereas with LD, acadenlic sk‖                Is and executive
         functions are often arectedo Exarninees with these possible conditions whose intent is
         to receive accornrnodations in educational settings(e.g.fOr standardized testing′           such
         as SAT′ GMAL LSAT)or prescttptions for stimulant medications may exaggerate or
         feign cognitive irnpairrnent and psychological dysfunction to attain such goals(Harp
               2011,Harrison et al.′ 2021,Hurtubise et al.′ 2017)′ underscoring the importance
         et al.′

         of including SVTs and PVTs in these evaluations,Moreover,both LD and ADHD com―
         monly have emotional conconlitants, such as emotional dysregulation′     anxiety, and
         depression(Wehmeier et al.′ 2010,Sobanski et al.′ 2010,Sibwall et al,,2013),neceSSi―
         tating SVT assessment,Ctinicians should duly note that relevant research has shown a
         high base rate of PVT and SVT fa‖ ure in ADHD and LD assessment in older teenagers
         and young adults(Harrison &Arrnstrong′ 2016, Harrison et al.′ 2015, Marsha‖ et al.サ
         2010,Williamson et alv 2014).
            This overview represents merely a sample of the psychoiogica‖              y and somatica‖ y
         symptomatic presentation of exanlinees frequently encountered in forensic and ctinical
         neuropsychological assessment contexts.it is recognized that some degree of overlap
         exists among these disOrders′ both conceptua‖ y and in terrns of presentation′ and
         comorbid conditions are cornmon, It is also recognized that there are other mental
         health conditions that may be encountered in ctinical and forensic examination con―
         texts that are not specifica‖ y mentioned in this document(e,g.personality disorders).
         In a‖     cases of psychological evaluation′    the value of appropriate validity analysis of
         reported symptoms cannot be overemphasized.


                          oすo′ o9/
         Assessment ttet′ 〕

         Exarninees presenting 、
                               Alith     Cognitive′    psychological, somatic′ or behavioral concerns
         require comprehensive assessment of their reported symptoms in both clinical and
         forensic exarninations,In addition to neuropsychological tests and PVTs(uSed to assess
         validity when cognitive symptoms are reported)′ comprehensive assessment often
         inctudes review of medical and acadernic records, clinical interview′ completion of




Ex. 162, p. 27 of 54
          10800■       ■ SWEET   ET AL


          brief or deta‖ ed sel卜 report questionnaires that include embedded validity scales,and
          may include free¨ standing SVTs.



            or/anJ reCOrど s
          打たと

          Neuropsychotogists should carefu‖ y revievv the medical and/or acadernic records of
          examinees′ recognizing that some details and symptoms are subieCuvely reported and
          recorded in notes, Experience indicates that providers across disciplines, including
          physicians′ in various ctinical contexts genera‖ y accept patients'subiectiVe reports at
          face value′ documenting them in the record in an uncriticai mannero Some exarninees
          wilt have seen mukiple providers,subiecttVely repordng symptoms tO a‖ .Commonty′
          providers form a diagnosuc impression based on these subieCt"e repOrts,sometimes
          with the use of self― report symptom questionnaires that iack validity indices, A/1ost
          sk‖ led   neuropsychologists understand that uncritical acceptance of symptorn reports
          is not acceptabler particularty in secondary gain contexts(Rosner & Scott′ 2016,
          He‖ bronner et al.′   2009, Morgan & Sweet, 2008, Sweet et al。 ′2018, Kirkwood et al.′
          2011)。    in fact,there is a long history of research demonstrating that the accuracy of
          ctinician rimpressionsr of credible symptorn reporting alone is poor and′              sometimes,
          even no better than chance(Dandach卜              FitzGerald, A/1erckeibach′   &Ponds,2017, Faust
          et al., 1988, Heaton et al., 1978),Sirnilarly′      diagnostic innpressions of exarninees based
          endrely on their self― reported medical or schoot recordr Wtthout documented obieCt"e
          validity assessment′ are likely to be erroneous in both children and adults(Kirkwood&
          Kirk′   2010,Martin et al。 ,2015)。 For example′ an exarninee nlight minimize/deny prior
          academic concerns when feigning current cognitive/acadernic problems secondary to
          a recent mTBけ or might exaggerate the severky of their mTBI reladve to obiecdve
          records from the dme of the iniury.
             In some cases′ vve‖ ―
                                 meaning providers inadvertently reinforce fatse conceptions in
          patients, unwittingly promoting an iatrogenic″ disorder.″ This is not unusual in mTBI
         cases′when emergency departrnent staff may fa‖ to provide sutticient information
         and reassurance regarding recovery expectations(Bender&Matusevげ icz′ 2013,Carone′
         2018,Kirkwood&Kirk,2010),This can also be seen in the psychoeducational setting′
         when students are inforrned that they have a neurodevetopmental disorder, such as
         ADHD or dystexia′ despite lack of evidence consistent with the diagnosis′                and then
         receive accornrnodations(Suhr&weⅢ            2017).in situations like these′      both the medical
         record and exanlinee beliefs rnay be erroneous.


         Pガ or assessme"t resw′ ts

         When the medical or acadernic records contain neuropsychologica1/psychological
         assessment reports′ exarniners should compare previous test results to their own′
         including analysis of prior scores,and underlying rθ ν
                                                              y J[rttク 、
                                                                      ′ハ′
                                                                        hen possible,If previous
         assessments utilized SVTs and/or PVTs, these should be carefu‖ y reviewed and com―
         pared against current results. llVhen retevant records indicate worsening of reported
         symptoms within a context of apparent appropぃ      iate′ evidence― based treatment′ exam―

         iners should assess the psychosocial context to identify possible causes and credib‖ ity




Ex. 162, p. 28 of 54
                                                                THE CLINICAL NEUROPSYCHOLOGIST (Ξ ) 1081


          of symptom exacerbation. Relevant research indicates that appropriate treatment is
         typica‖    y assodated with symptom improvement in many mental disorders(Goldfried′
          2013)。    Lack of assessment regarding the validity of self― report in previous evaluations
          should raise concerns about their interpretability.


          C″             teryfew
               "icar,お
          Neuropsychological evaluations cornrnonly inctude a comprehensive ctinical interview
          of the exarninee and interviews of co‖     ateral sources where possible and appropriate′
         with the understanding that the accuracy of the inforrnation gathered is unverined
          and should not be used to over― ride obiecuve test data.The examiner should carefully
          document the reported symptoms′ behaviors, and mental status of the exarninee。
          Particular care should be taken to deta‖ the emergence of symptoms,noting the psy―
         chosocial′ environmental cuitural′ and farnilia1/genetic factors that may be operative
          in the development of psychopathologyo Where symptoms are thought to credibly
          represent an extant mental disorder′ examiners judge the seventy and nature and the
          erect of such symptoms on functional capacities,behaviors′ and quality of life.
             Structured interview protocols may not inctude assessment of the validity of self―
          reported symptoms orimpairment.Exarniners should consider this when setecting and
          using st「   uctured interview protocols.


         Aゴ mi"た trarom       Or syTs
          Exanliners ad何 liniSter SVTs as part of a systematic process for validating reported
          symptoms, Free― standing SVTs are available′as we‖ as self― report measures with
         embedded SVT scales. Research with adults indicates exce‖ ent ability to deterrnine
         overreporting/exaggeration of symptoms and to discrirninate credible from noncredト
          ble exanlinees with certain instruments that contain vandity scales(Ben―        Porath et al.′
          2009,Greiffenstein et al.′ 2007,Gervais,Ben― Porath,Wygant′ &se‖ bonl,2010,Ingram
         &Ternes,2016,Selibom&Bagby′ 2010).The use of SVTs proMdes an obieCuve means
         of detecting exaggerated/feigned psychological and somatic complaints(Ben― Porath&
         Te‖ egen′     2008,Boone,2017,Larrabee,2007).The uSe of rnultiple SVTs′ inctuding psy―
         chologicai tests that have multiple embedded validity indicators′         provides the most
         scientific basis for opinions provided in secondary gain contexts. That is′ multiple
         SVTs,or the use of multiple SVT data points,such as multiple internal over―        report val―
          idК y   scales(e.g.MMPI‑2‑RF/MMPI‑3)′       are recommended for forensic examinations
          (Sherman et al。 ′2020).SuCh guidance is consistent wК h the vast maiOttty of current
          practices of neuropsychologists when conducting ctinical a′         ,J forensic evaluations
          (SWeet et alv 2021b)。
               As previously noted′ exarninees may′ at tirnes, rninirnize or deny a previous history
         of rnental health treatment or rnedical disorders or rninirnize/deny their past and cur―
          rent psychological or medical symptoms. A/1otivation to attribute pre―       existing symp―
         toms and dysfunction to more recent/current events, especia‖ y when external
          incentives related to the more recent/current events are present′        may underlie such
         efforts′   in order to enhance the presumed efFects of an in)ury or diSOrder. As in the




Ex. 162, p. 29 of 54
           1082o■ ■swEET ET Aヒ

          detectiOn of exaggeration of symptoms′ there are measures for detection of mFn力
                                                                                          ηiz9‑
          tわ ′ or under― repordng′ Of symptoms within certain instruments(Brown&selibOm′
              ,′



          2020). lⅣ hen nlinirnization of past symptOms is present′
                                                                          exanliners shOuld carefu‖ y
          evatuate self― report to determine whether rnalingering or other factors′
                                                                                        such as stigma′
          potentia‖ y linked tO cultural cOntext′    are contributing to the rninirnizatiOn of symp―
          tOmS(Crighton et al.′    2017).
             Exarniners should choose svTs with dOcumented reliability and va‖ dity and be
          aware Of the sensitivity and specificity of their measures. SVTs with documented dis‐
          crinlinatory ab‖ ity and current interpretive guidetines relevant tO the ctinical conditiOn
          of interest shOuld be utilized. ldea‖
                                              y′ SVTs should also provide non― redundant infor―
          mation and have vattdated cutOffs using known― groups(i.e,specificity≧
                                                                                   .90,Sherrnan
          et al,, 2020).「 ueasures that provide quantification of validity relevant tO the self―
          reported concerns/ciairned disabilities are preferredo Scores on validity scales for
          feigned mental i‖ ness are not necessarily informative for seif‐ reported cognitive or
          somatic cOmplaints,cOnsistent vvith the need tO use multiple SVT measures. Erective
          practitioners remain up tO date on the most recent advances On SVTs/self―
                                                                                       reported
          validity analyses′ as subsequent research with vatidity scales/tests often requires modト
          fication of interpretation.
             On a finai note′ SVT data indicate whether the test taker is repOrting symptOms in
          a credible manner.HOwever,thoughtful practitiOners know that simply reporting psy―
          chiatric symptoms credibly does not mean that an exanlinee has such symptOms at
          the tirne of testing.For example′ individuals with a history Of PTsD may we‖
                                                                                       be able
          to report histOrica‖ y accurate PTSD symptoms,even if they no longer are experiencing
          such symptOms′ and thereby appear to be presenting in a valid manner on test valid―
          ity scales.The decision― rnaking prOcess requires that practitioners use additional his―
         tory and case information to arrive at sOund cOnctusions, including cOnsideration Of
         whether symptOms may have changed orimproved over tirne.


         ′
         打te9rateJ ana4/Sた 「
                           。 reporteF s/阿 prOmS
         Having cOmpleted cOmprehensive recOrd reviews(with data cOmparisOns when ava‖                       ―
         able), Conducted a thOrOugh interview of the exarYlinee (and coWateral infOrrnants′
         when appropriate), and completed cOmprehensive assessment with apprOpriate SVT
         measures,exanliners integrate their findings across these sources,including the neurO―
         psychological test resuits and PvT datar fOr the purposes of determining the validity
         and interpretab‖ ity of exanlinees' symptom reports, when symptom expression is
         ,udged tO be consistent with the context of an extant disOrder′   which requires consid―
         eration of histOry and related other information,9′ ,J when valid svT data are present′
         exarninee seif― report may be cOnsidered tO be valid and interpretableo it hOwever′
         assessment nndings idendfy atypica1 0r implausibly extreme sevettty in the context Of
         (a)the medical record′ (b)fact patterns Of the case,(c)in― vivo exarnination and/or(d)
         SVT perforrnance′ the exanlinee's symptorn report rnay be considered noncredible and
         uninterpretable, Guidance regarding svT interpretation has been orered in several
         peer― reviewed   publicatiOns and exarniners are encouraged tO be fanliliar、   A′   ith relevant′
         recent interpretative guidelines(e,g. Boone′      2017, Chafetz et al., 2020, Ha‖        & Ben―




Ex. 162, p. 30 of 54
                                                                  THE CLINICAL NEUROPSYCHOLOGIST 0 1083


          Porath′ 2021). Sirn‖ arly′   when there is evidence of rcompeWing inconsistencies′ in the
          exanlinee′ s presentation′such as difFerences in demeanor and presentation when
          being observed and when not′ or inconsistencies between the medical record and
          observations′ or inconsistencies between SVTs and observations, among others,then
          such inconsistencies should be considered to be part of an overa‖ ′
                                                                            ny9″ J           preser,tat,ο   ′
                                                                                                            ,


          (BianChini et al。 ′2005,Sherrnan et al.,2020)。
             On occasionf an exarninee may be considered to have a credible mentat health or
          medical disorder′ but SVT resuits nevertheless indicate significant symptom overreport一
          ing/exaggeration that is inconsistent vvith the severity of the disorder. in such cases′
          the exanliner should report such inconsistencies.


          Recon,meЛ Jations rbr praco∬ 。mers
          ● Self― report inventories that do not contain a means for determining validity regard‐
             ing symptom exaggeration/feigning and mininlization/denial should not be used in
             isolation to make diagnostic or prognostic decisionso Seif―         report measures in the
             absence of obiectiVe svT data are purely subiect"e and therefore are of unknown
             retiabitity and vatidhy.The need for obieCt"e and valid data is crucial in both
             forensic and clinical assessment contexts,
          o SVTs should be used in order to optimize conttdence in self― report data co‖ ected
             from examinees,
          ● Fa‖ ure on PVTs does not necessarily predict fa‖ ure of SVTs, the converse is
             also truet
          o SVTs should be domain specific(i.eo able to address specific ctairned symptoms′
             whether somatic, psychologicar Or cOgnitive),With the understanding that symp―
             tom reporting may be highly correlated across domains and may be mutua‖ y
             inforrnative.
         o Fa‖ ure on SVTs occurs when over― report or atypical report is present, which can
             happen within the context of evaluating individuals with any cognitive′          somatic,or
             psychological disorder.Notably′ the concern is not that a genuine disorder of these
             types causes invalidity,but that invalid set卜   report by an exarYlinee may falsely sug―
             gest that the purported disorder is present′     vvhen it is not.
         ● Prior records may have been based on inaccurate/invalid seif―            report if Sヽ   lTs were
             not adnlinistered and/or carefu‖ y considered as part of the prior evaluation.
         ● ●Sヽ lT results of exanlinees should be evaluated in terms of J,screρ 〔
                                                                                〃nc/From′ ,ormar
           eχpectcltionso The presence of nlild, moderate′ and/or severe over― reporting of

           symptoms in an exanlinee's assessment dataset should inform the ultirnate conctu―
             sions/opinions of the exarniner. Evidence of invalidity and/or response bias is not
             necessari1/synonymous with malingettng(1.eo Over― reporung of symptoms may be
             relatively nlild and not associated with an external incentive′      leading to an impres―
             sion of mildiy exaggerated symptom reports′       rather than frank malingering).
         o VVhen an exanlinee′ s responses on Sヽ /Ts result in extreme scale elevations′ particu―
            laHy on multiple scales/testsr and when the history/medical record is incompadble
             with severe psychopathoiogy,especia‖ y when external incentives are known to be
             present or possibly present′    exanliners are encouraged to consider a deterrnination




Ex. 162, p. 31 of 54
          10840■     i SWEET ET AL


             of malingering′ utilizing contemporary criteria, when appropriate (e.g. Sherrnan
             et al。 ,2020)。 ConSideration of the totality of the exanlinee's presentation is always

             essential aS a deterrnination of rnalingering remains a complex′        rnultidirnensional
             process dependent on the entire record (Lippa′         2018)。 Additiona‖   y′   exaggeration
             and/or malingering may coexist vvith genuine psychologicat somatic′ and cognitive
             disorders, they are not mutua‖ y exctusive (Fuerten & Merckeibach′ 2013,
             Boone,2017).


         Reco",,η emJarons rOr riftwre researc′       ,



          ● There remains a need for development and validation of new SVTs,including free―
             standing measures and embedded measures within current self― report symptom
             measures,Validity assessment of self‐ reported functional impairment,which can be
             feigned′ wouid also be valuable(Bryant et al.′       2018,Suhr et al。 , 2017)。 Additional
             development and validation of SVTs for use with pediatric populations is ctearly
             needed and strongly encouraged(Kirk et al.′       2020).
          o Ongoing validadon and development of new measures that identify invalid collat―
             eral report is needed.
         ● Generat research in psychopathology, and in the development of new SVT scales
             and instruments′ should be undertaken with research participants who themsetves
             have passed SVTs that are appropriate for the individual′      s background.[)iagnostic
             assessment of such research participants,vvhether recruited as patients or proxies,
             must inctude validation of their seif― reported symptoms。        (Dnty by so doing can
             researchers, and ultirnately exarniners′     have confidence in their instruments and
             their data。



          Research design and statistical issues
         κe/Pof"佑 rearrirmeF rrom:′ Pe 2009 conse"sws coη rerence statemettt

          in the original consensus conference statement(HeilbrOnner et al., 2009), three key
         areaS IA,ere identified and discussedi


         ●   Research designe The 2009 consensus conference statement endorsed the use of
             perforrYlanCe and symptom validity investigations that inctuded analog sirnulation
             and criterion or″ known groups″ designst Analog sirnulation designs provide a prac―
                                                                  ″
                                                                  proof of concept″ for new tests.
             tical and cost― erective means for exarnining
             These aliow for a compattson between a non―        iniured group′ which is known to be
             feigning on measures of performance or symptom repOrt,with that of an injured
             group vvith bona fide neurologic disorders such as a severe traumatic brain in,ury。
             The primary tirnitation of this design is one of genera‖      zabitity.The strength of a
             known― groups design is the ctinical retevance provided by inctuding persons with
             rea卜 worid    incentives to malinger or exaggerate their complaints or functional dis―
             ab‖ ity.The    ma,or rnethodological cha‖ enge is developing appropriate external cri―
             teria for defining response bias.




Ex. 162, p. 32 of 54
                                                                  THE CLINICAL NEUROPSYCHOLOGIST (Ξ ) 1085


          o Singie versus muitiple indicatorse The 2009 consensus conference statement rec―
             ornmended more research investigating methods that combined multiple stand―
             alone tests and/or embedded measureso Retevant issues inctuded: unit weighting
             approaches, Iogistic regression′     multivariable composites′       model over― fitting′ and
             Bayesian modet averaging. Whether using a multivariable composite or a single
             test′    neuropsychologists were advised against relying on a singie test with a fixed
             cut scoreo Because PVT and SVT diagnostic decisions occur in direrent contexts′
             the relative costs of false positive and false negative errors are not constant across
             situations.Raising or iowering a test's cut score w‖ l increase or decrease the test's
             sensitivity and specificity in an inverse fashion,when sensitivity is increased′      specifi―
             city decreaseso Consequently,investigators,,ournal editors′ and test publishers were
             strongly encOuraged to provide a broad range of cut scores with their respective
             diagnostic test statistics, including sensitivity, specificity′       and likelihood ratios.
             Validation and cross― validation were aiso recorYlmended for a‖          measures and score
             combinations.
          ● Diagnostic statisticse This section discussed sensitivity, specificity,and how these
             statistics′   in cornbination with the prevalence(i.e.base rate)of inValid performance′
             defined positive and negative predictive power.AIso discussed were the benefits of
             using likelihood ratios(LR)and Receiver Operating Characteristic(ROC)/Area Under
             the Curve(AUC)。 AUC is particularly useful for comparing the diagnostic emciency
             of individuaI PVTs to one another because it a‖       ows consideration of the fu‖      range
             of scores at every possible cut point.There are several interpretations of AUC:(1)
             the average value of sensitivity for a‖    pOssible vatues of specificity,(2)the aVerage
             value of specincity fOr a‖ possible values of sensitivity,and′ (3)the prObability that
             a randornly selected person with the condition of interest has a test result indicat―
             ing greater suspicion of that condition than that of a randorniy chosen person
             without the condition of interest(ZhOu et al。 , 2002). An AUC of,50 provides no
             diagnostic inforrYlatiOn′ whereas an AUC of.70 to.80 shows acceptable discrirnin―
             ation′an AUC of.80 to.90 shows exce‖ ent discrirnination′ and AUC≧ .90 ShOWS
             outstanding discrimination(Hosmer& Lemeshow, 2000).AUC is related to both
             Cohen′ s J and Pearson r(Rice&Harris,2005).



         Nev consensws cons,Jerations o"researcん どes,9η o"J star,srca′ たswes


         o Research designo Neuropsychological validity assessment research methods in the
            2020s should include consideration of generalizab‖           ity′   or lirnitations′ regarding
            such factors as ethnic/cuitural diversity′     language′ and education. By comparison′
            there are fewer studies of normed and validated PVTs and SVTs for ethnic minor―
             ities,which creates an unknown potential for disparities when providing competent
             neuropsychological services to diverse populations.To be sure′          research in this area
            can be cha‖ enging due to the combination of high heterogeneity in typica‖              y reta―
            tively sma‖ research samples.For exannple′                 there are about 20.4 mi‖ ion
                                                              in the UoS.′
            Asian― Americans, comprised of 19 specific ethnicitiesr that account for about S,40/0
            of the population (Lopez et al。 ′2017)。 Culture, sociohistorical experience, and




Ex. 162, p. 33 of 54
          10860■       ■ SWEET ET AL



            languages can direr fOr each ethnic group′ and there can be significant within
            group direrences in age′ generation′ acculturation′ imrnigration history′ level and
            quality of educationf and English proficiencyo Such factors can impact performance
            on neuropsychological tests(ci reView by Fuili′          2018)by impacdng test validК y,as
            we‖ as an exarninee′ s comfort、 A,ith the testing situation′ ab‖ ity to respond to test
            items, and opportunities for learning (American Education Research Association
            et al.′   2014).Despite the complexity of conducting such research′ in alignment vvith
            the AACN Relevance 2050 initiative(Relevance 2050 initiative― AACN(theaaCn.org)′
            PVT and SVT studies with ethnic minorities are likety to be productive and import―
            ant(ci Robles et al.,2015)。
                   When validating measures designed to detect perforrnance and symptom valid―
            ity′    defining the valid and invalid criterion groups is a critical issue. For develop―
            ment of embedded/derived measures of perforrnance validity′           it is essential that
            Pヽ   /Ts idendfン perfOrmances that are atypical in ekher pattern or level of perform―
            ance compared to the features characteristic of bona fide clinical impairment. For
            SY「 s,one must idendfy pttterns of symptom complaint thtt are atypical compared
            to those produced by both normal functioning individuals with sim‖ ar cuitu「 al
            backgrounds and individuals with iegitirnate ctinical disorders, For freestanding
            PVTs, it is critical that the test appears to be a measure of an actuai neuropsycho―
            logical ability′   such as rnemory or attention′ but is suriciently easy to be perforrned
            norrna‖ y by persons with genuine neurologic disorders.The key issue is not to con…
            found true inability to perforrn the task with feigned inability.
               Given the points made previousty′ great care is required for group forrnation.
            Validity assessment research requires a clinical comparison group that is character―
            ized by a condition known to produce less erective neuropsychological perForrn―
            ance and have a strong likelihood under most circumstances to manifest
            complaints of cognitive and/or psychological difficulties, Preferably′            PVT and SVT
            research data on a clinical comparison group are obtained from individuals exarn
            ined in the absence of external incentives.If external incentives are present′           partici―

            pants should be tested for evidence of valid responding.This creates a potential
            problem in that researchers rnight exclude individuals who fail a PVT because they
            lack the ability to earn a passing scoreo Such an error can inflate specificity,leading
            to an increase in false positive errors in subsequent applications of the PVT.These
            issues must be considered when researchers create samples for study using a
            known― groups design.Additiona‖       y′   it is critical that there is a genuine ctinical dis―
            order comparison group in sirnulation research.Ⅵ          yith the exception of early validity
            investigations during deveiopment of a novel test application′             comparisons made
            only between normal′ uniniured indi胡 duals instructed to feign impairment and
            normaL uniniured indi胡 duals instructed to g"e valid performance/symptom reports
            are of questionable utWity.
                 Data obtained from a study exarYれ ining sirnulation versus genuine clinical dis―
            order should be cross validated with an invalid perforrnance criterion group.
            Specification of criteria for the invalid perforrnance group should inctude multiple
            indicators of invalid performanceo if this occurs in the absence of external incentive′
            this becomes a perFormance validity investigation designed to determine the




Ex. 162, p. 34 of 54
                                                                     THE CLINICAと   NEUROPSYCHOLOGIST 0 1087

            operating characteristics of a new PVL or tO Cross― validate the operating character―
            istics of a previousty developed PVT,If this occurs in the context of external incen―
            tive′    such as litigation and/or disability compensation′         or avoidance/rnitigation of
            crirninal prosecution′ this becomes an investigation of probable malingering if
            invalidity is based on multiple PVT fa‖      ures or definite malingering if the invalid per―
            forrnance group is defined by significantly― worse than chance performance on a
            tlA,O―   alternative forced choice PVT(Binder et al.′     2014)。
                The nature of the chnical disorders comprising both the noncredible and cred―
            ible groups in a criterion groups design is important, Relevant to the practice of
            dinical neuropsychology,the most commonly lhigated iniury is uncomplicated mild
            traumadc brain in,ury(mTBtt Sweet et al。 ′2013,Sweet et al.,2021a)′ whiCh is not
            expected to produce lasting neuropsychological innpairment(CarrO‖                  et al.′   2014,
            Hung et al.′ 2014, Rohling et al., 2011)。 Thus′           persons with uncomplicated mTBI
            who fa‖ multiple PVTs in the context of external incentives are perorrning in an
            invalid manner. This group can then be compared to individuals with uncompli―
            cated mTBI who have passed a‖ PVTs(ci」 Ones′ 2016,Jones, 2013)。 Although an
            appropriate design,such an approach lirnits use of the PVT under investigation to
            comparable cases′       which′ in this instance′   is individuals with uncomplicated mTBI
            (ioet fa‖   ing PVTs vs,passing PVTs)。 Additional research would be required to support
            PVT application to a difFerent clinical group′          such as individuals with complicated
            mTBI.
                in a variation of this design,an mTBI group in litigation that has failed multiple
            PVTs can be contrasted with a TBI group with either moderate or severe TBI′                  not in
            titigation.The advantage is that the mTBI group fa‖ ing PVTs is not expected to
            have continuing neuropsychoiogical impairment,contrasted with those with mod―
            erate or severe TBI vvho are at increased risk of persistent clinical impairment.This
            a‖ ows    better deterrnination of the ctinica‖ y atypical perforrnances characterizing
            noncredible presentations. in other words′
                                                     uncomplicated mTBl is not expected to
            produce continuing cOgnitive irnpairment′ and when such individuals faiI PVTsf
            they have performed in a manner atypical even for persons having experienced
            more severe TBIo An additional analysis that this design a‖ ows is the demonstration
            of a dose― response erect on standard neuropsychological tests, such as measures
            of processing speed and memory (e.g. a case involving severe TBI would show
            worse perforrnance than a case involving moderate TBI,Rohling et al̀′  2003,Sweet
            et al.′2013)。  SinCe  the embedded   PVT under  development should represent  an
            atypical pattern(ioei nOt Seen in moderate or severe TBけ ′the dose― response erect
            for the PVT in the credible perforrnance group should be either absent or sma‖ er
            than that seen on standard neuropsychological tests,
               A third type of design uses rnixed ctinical samples,which may include a variety
            of clinical disorders′ inctuding neurologic(e.g.TBI&stroke),psychiatric(e.9,rnaiOr
            depressive disorder)′      Or developmental(e.go learning disab‖ ity)diSOrders. Cases
            passing PVTs are characterized as valid′   while those fa‖ ing PVTs are ctassified as
            invalid,A key issue with this type of design is ensuring that the valid and invalid
            groups do not direr in the type of ctinical disorder or severity of ctinical impairぃ
            ment(Or if so′ that the invalid group is over‐ represented by less severe conditions′




Ex. 162, p. 35 of 54
           10880■ ■swEET       ET AL


             such as mTBり ,SO that′ if present′ group direrences are onty attributable to invalid
             perforrnance.This concern is prectuded when cOmparison groups cOnsist of individ―
             uals vvith a single diagnOsed cOndition that is of cOmparable severity across individ―
             ualS(e.g. majOr depressive disorder)or when′         with a single disOrder′ severity can
             be identified quantitatively and its erect exarnined statistica‖     y(e.go rnoderate and
             severe TBけ 。
                 A significant cOncern in criterion grOup fOrmation is what should be done with
             cases that fai1 0nly one PvT′ but not at wOrse― than― chance levels, some studies
             have suggested that a single PvT fa‖ ure occurs in approxirnately 400/O of credible
             neuropsychO10gy clinic patients withOut motive to feign (ViCtor et al.′
                                                                                                 2009)′
             whereas a single PVT failure "kely represents performance invalidity in 57% of
             patients with motive to feign(Schroeder et al.′      2019).This suggests that deterrnin―
             ation as to whether patients failing a single PVT shOuld be included in a credible
             comparison group depends On presence of external motiveo Prelirninary research
             has shOwn that when patients withOut motive to feign and whO fa‖ a single PVT
             out of several are retained in a credible sample′
                                                             patients fa‖ ing l versus o PvTs
             may nOt direr in mean perorrnance on the PVT under investigation′ and cut―
                                                                                                     Or
             selection is not impacted by inclusiOn of patients fa‖        ing one PVT (Mccaul et al.′
             2018)′ arguing for the inclusion of these individuals,
               As found in suⅣ eys by IⅥ artin et al。 (2015)and SchrOeder et al。
                                                                                 (2016)′ the most
            cornmonty preferred approaches to assessment Of invalid perforrnance require
            either failure of 2 or rnore PVTs,Or failure Of a single PVT plus evidence Of One indト
            cator of non― credibility outside of validity testingo By cOntrast, victor et al。
                                                                                                 (2009)
            reported a high frequency of single PvT failures in their credible perfOrmance ctin―
            ical sample, with no motive to feign. This finding′         hOwever′ direred from the
            results Of Proto′ Pastorek′ M‖ ler′ Romesser′ Sim′
                                                               & Linck (2014), who reported
            reduced neurOpsychO10gical perfbrrnance for TBI cases failing only one PVL COm―
            pared tO thOse subiects WhO passed a‖ Pv「 although this was a military veteran
                                                             s′


            sample that may have had actual or perceived motive to feign.sOme investigators
            have chOsen tO sirnply exclude cases with one PVT failure as       ″
                                                                                        indeterminate″
            (SChroeder et al.′2019), Others have ranked the likelihood Of invalid test scOres
            along a continuum (Bianchini et al.,2014,Jones′ Ingranl′ &Ben― Porath′ 2012).The
            advantages and disadvantages Of exctusion and inctusion have been discussed and
            initia‖ y   tested empirica‖ y(SChroeder et al.′ 2019)′ With additional research needed
            on this impOrtant tOpic.
               An alternate approach tO research related tO use of rnultiple PvTs is tO exclude
            the single― faiI PVT group′ develop the cutting scOres or iogistic regression for the
            new PVT under investigation based on discrirninating fa‖
                                                                     ≧2 versus fail o PvTs,and
            then apply the diagnostic discrimination procedure tO the single― fa‖
                                                                                           group in a
            post― hOc   rnanner tO see where these persons wOuld be ctassified.This sOlution pro―
            vides a means Of addressing spectrum bias(i.e. variable perfOrrnance because of
            direrent patient rnix)′ Which may in this instance be caused by dropping single―
                                                                                             fa‖
            cases frorn the credible and noncredible groups.such an approach can pOtentia‖
                                                                                               y
            provide better delineation of the boundaries of performance validity ctassification
           accuracy(see Loring et al.′     2016 for discussion).However′    to date,there is a lack Of




Ex. 162, p. 36 of 54
                                                                         THE CLINICAL NEUROPSYCHOLOGIST 0 1089


              consensus as to the best approach to classify the single―              fa‖   cases,which in the
              view of the consensus panel requires additionat research.
                  in su口 lmary′ there is consensus that sirnulation and criterion groups(″                known
              groups″ )reSearch designs continue to be applied effectively in research on validity
              assessment.Such investigations depend on a careful characterization of comparison
              groups to ensure that the invalid perforrnance group is truly atypical and that the
              ctinical comparison group has an increased likelihood of legitirnate neuropsycho―
              logical deficits.This approach increases confidence that cutotts for the PVT under
              investigation are based on clinica‖ y atypical as opposed to legitirnately impaired
              perforrnance. Various strategies for defining valid and invalid assessment groups
              are discussed in the preceding sectiOn on Research Designs, For example′ there is
              consensual support for the research strategy of contrasting the perforrnance of
              individuals with uncomplicated mTBI who are litigating/compensation seeking and
              who fail multiple PVTs with the performance of a sample of persons v萌 th rnoderate
              or severe TBI′ not in titigation。
          ●   Diagnostic statistics.By design′          PVTs prioritize specificity over sensitivity′   which is
              reflected in meta― analytic findings,Vickery et al.(2001)reported a mean sensitivity
              of.56 and specincity Of.95,and,subsequently,SO‖                man and Berry(2011)reported a
              mean sensitivity of.69 and specincity, of。           90。   These studies also demonstrate the
              we‖ ―
                  known inverse relationship between sensitivity and specificity: as sensitivity
              increases′       specificity decreases.The forrnula for Positive Predictive Value(PPV,the
              probab‖ ity of having the condition of interest given a positive diagnostic test
              result)alsO i‖ ustrates the emphasis on specincity With TP as true positives and FP
              as false positives(i.e, 1 ‑Specificity):

                                                    PPV=lTP/(TP tt FP)]                                   (1)

                  lrnprovements in diagnostic accuracy can be made by reducing false positive
              error′       in order to maxirnize the accurate detection of invalid perforrnance
                  The importance of rninirnizing the false positive rate is further demonstrated by
              converting the mean sensitivity and specificity values frorYl the two meta―               analyses
              to positive likelihood ratios′      (LR+)defined as:
                                             LR+=ISenShiVК y/(1‑Specificky)]                               (2)

                  For the Vickery et al。      (2001)data′ this value is ll.2(i.e..56/.05),indiCating that a
              positive score on the PVTs in this investigation was ll times more likely to come
              frorn the invalid perforrnance than the valid perforrnance group, For the So‖ man
              and Berry(2011)data′ this value is 6.9(ioe..69/.10),or 7 times more likely to come
              from the invalid as opposed to the valid perforrnance group.
                 Moreover′ these LR‐ ■values exceed the LR― ■for discrirnination of patients with
              neurologic impairment from normal control suttects′ 5,28′ based on the average
              irnpairment rating of the Halstead― Reitan Neuropsychological Battery (Heaton′
              Ⅳli‖   er′   Taylor′&Grant,2004,Rohling et al.,2021).
                  Fina‖ y′     note that LR+multiplied by the base rate odds of the presence of non―
              credible perforrnance yields the post―          test odds of the presence of noncredible




Ex. 162, p. 37 of 54
          10900・          SWEET ET AL
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             perforrnance. Sor using a base rate of       。
                                                          40 of noncredible performance′        the base
             rate odds become:

                                         Pre― test odds=[.40/(1‑.40)]=0・       67                  (3)
                 Thus′    when muitiplied by the respective LR+values,the result equals post―           test
             odds ofア .5 for Vickery et al.(2001)′ and 4.6 for So‖ man and Berry(2011)。 These
             post― test    odds can then be converted to post― test probabilities of noncredible per―
             forrnance by the formula:

                                        Post―   test probability=toddS/(OddS+1)]                       (4)

                 This yields probabilities of invalid performance of O,88 for Vickery et al,(2001)
             and O.82 for So‖ man and Berり (2011).
                 Consensus continues that diagnostic statistics are important in the research and
             application of PVTs and SVTs. More specificaWy′ these investigations demonstrate
             the irnportance of maintaining a low false pOsitive rate to irnprove diagnostic
             accuracy.Current consensus aiso suppOrts a false positive rate of.10(specifiCity of
             .90)per PvT or SVTo This is supported by the So‖ man and Berry(2011)rneta―                ana―
             lysis yielding an average false positive of。 10 per PVT,and by Larrabee et al。        (2019)
             who varied the per― test false positive rate from o.Oo to O,15′      and found ,10 to be
             the optimat rate.The Sherrnan et al.(2020)reviSion of the diagnostic criteria for
             malinge「 ed neuropsychological dysfunction also recomrnends a per― PVT             and per
             SVT false positive rate of,10,as we‖       as an aggregate false positive rate of.10 for
             use of combinations of multiple PVTs and SVTs,
         ●   Use of single versus muitipie indicatorse The 2009 consensus conference state―
             ment recornrnended that practitioners use muitiple indicators of perforrnance and
             symptom validity,and in the intervening years this has′ in fact, happened (FⅥ artin
             et alv 2015,Sweet et al.,2021b)。 Such recommendations,in coniunction wた h the
             explosion in PVT and SVT research over the past 10+years′ raised subsequent con―
             cerns regarding the best approach for combining multiple PVTs and SVTs in an
             individual assessment.A related concern is the potential for elevated false positive
             rates associated vvith use of rnuitiple PVTs and SVTs,
                As discussed in the original consensus conference statement, two basic
             approaches have been employed:A sirnple ta‖ y method with unit weighting′ and
             more elaborate statisticat rnodels such as discrirninant function analysis and iogistic
             regression. The advantage of statistical modeis such as iogistic regression is that
             PVT and SVT correlations are considered,as weW as the potential to provide direr―
             ent weightings for more salient PVT and SVT measures, The disadvantage is the
             lack of a consensus core neuropsychological assessment battery′         employing a corn―
             mon set of PVTs and SVTs that would a‖ owv derivation of a logistic regression equa―
             tion,
                The ta‖ y approach is dependent on the generalizab‖        ity of study― specific results
             on perforrnance contingencies of various PVT and SVT data(Larrabee′            2003,Victor
                  ,2009).The lack of a core battery with common measures has ied to various
             et al。

             attempts tO provide a general model for a combination of measures,These have




Ex. 162, p. 38 of 54
                                                                   THE CLINICAL NEUROPSYCHOLOGIST 0 1091


            inctuded linking/chaining of LR+         (Larrabee′     2008), LR― 卜and LR― (Bender &
            Frederick,2018)′ and MOnte Cario sirnulation(Bertheison et al.′       2013).These meth―
            ods have been criticized for over― estimation of posterior probabilities when chain―
            ing of a‖ possible LR― 卜and LR― combinations are considered(Larrabee et al.′                   2019)′
            and for over‐ estimation of false positive errors by Monte Cario sirnulation com―
            pared to vatues generated from actual ctinical data(Davis&的               ti‖   is′   2014, Larrabee′
            2014)。 Overestimation of error rate using MOnte Cario analysis is tikely due to
            skewed data in credible perforrnance groups(Davis&M‖ lis,2014,Larrabee et al.′
            2019). ThiS is because PVTs are criterion― referenced′ not norm― referenced (Davis,
            2018).
               The Davis and Millis(20η 4)and Larrabee(2014)data Support using a cutoff of
            >2 PVT or SVT fa‖ ures when up to 7 to 9 measures are adrninistered,The Sherman
            et at.(2020)MND criteria paper also advises a cut‐      o「 of ≧2 PVTs′ (e.g。 2 of 7
            failed)′   but recornrnends a ratio of PVTs fa‖ ed to those adrninistered when the
            number of PVTs adrYliniStered is greater(e.g.4 of 14 fa‖        ed)′   to maintain a lo、 A′ falSe
            positive ratet Wh‖ e based on a coherent rationater empirical confirrnation is cur―
            rently insufFicient and considered necessary to ensure that specificity in fact
            remains at adequate leveiso Additiona‖ y,PVT fa‖ ure rates in non‐ feigning samples
            are highiy likely to be non―   linear′   due to skewed score distributions(Larrabee et al.′
            2019),raising concerns regarding computing the ratio of number failed to number
            adrninistered。
               in SurYlrnary, consensus continues regarding the need to ut‖ ize multiple PVTs
            and SヽlTs in validity assessment researcho There is no specification as to the exact
            number of PvTs and SVTs that should be administered in individual cases′                         but
            there is consensus that multiple PVTs and SVTs should be empioyed,There is also
            consensus that increasing numbers of PVT failures most likely represent perforrn―
            ance invalidity′ but additional investigations are needed to precisely measure false
            positive rates when a high number of PVTs are fa‖         ed.Uitirnately,the deterrnination
            of malingering is not solety based on taHies or ratios of PVT/SVT fa‖ ure′ but
            whether the information pertaining to the case meets criteria in the accepted
            multidirnensional guidetines.


         Fvture direct′o"s

         Concern regarding false positive identifications continues to be an impOrtant area of
         focus of PVT and SVT research.investigators are urged to report the clinical character―
         istics of fatse positive cases,that is′   invalid scores produced by credible cases perforrn―
         ing sirnilarly to noncredible cases on the PVT or SVT under investigation,VVith this,the
         clinician employing the PVT or SVT can determine if a particular case has a ctinical his―
         tory or other characteristics sirnilar to those of false positive cases,if not′ the case fait―
         ing the validity measure may we‖      be a true positive for invalid perforrnance, False
         positive identifications on validity measures are associated with living in a residential
         facility with 24‑hour supervision(Meyers&voibrecht′ 2003),severe TBI associated with
         p「 olonged coma(Larrabee,2003)′  dementia with increasing false positive rate assocト
         ated with increasing degree of dementia (Dean et al.′ 2009, Loring et al.′ 2016)′




Ex. 162, p. 39 of 54
          10920■            ■ SWEET ET AL



          schizophrenia with comorbid significant cognitive irnpairment(Ruiz et al.′               2020)′ and
          sometimes amnestic mild cognitive impairment(Loring et al.′                      2016, Schroeder &
          Mardn′ 2021c).
                Procedures airned at reducing the false positive rate in credible clinical samples
          have been suggested.Dean et al.(2009)o「 ered adiustments for cutting scores for
          individuaI PVTs to maintain specificity at,9oo Loring et al,(2016)found that false posi―
          tive rates for early AD were 13%for RDS ≦ 6′ and 700/o for Rey Auditory Verbal
          Learning Test(AVLT, Rey, 1964)Recognition ≦ 9′ but that combining these cutting
          scores(RDS ≦ 6 9nJ AVLT Recognition ≦ 9)cauSed the false positive rate to fa‖ to
         just 50/ofor AD and 10/O for amnestic mild cognhive impairment。
             Loring et al。 (2016)also demOnstrated that evidence of norrnat range perforrnances
          on TraWs B and on AVLT delayed free reca‖     were associated with a decrease in false
          positive rates for RDS and AVLT Recognition.in other words′  evidence of norrnal range
          perforrYlanCe on sensitive measures of rnemory and processing speed suggested suri―
          cient native ab‖ ity to perforrn validly on RDS and AVLT Recognition。
                This inforrnation supports the need for additional investigations of PVT and SVT fail―
          ure rate in ctinical samples without external incentive(e.go individuals not in titigation
         or seeking or atready receiving disab‖ ity compensation).ThiS Would not only tead to
         documentation of the neurologic,psychiatric′ and developmental disorders known to
          be associated with PVT and SVT failure′              but could also potentia‖ y lead to a means of
          reducing the false positive rate by combining patient― related variables(educational
         attainment′ language pronciency′               etc.)and iniury/iliness― related vattables such as level
         of ability required to perforrn the PVTs under investigation.
                AIso recornmended is continued investigation of the diagnostic accuracy of varying
         combinations of rnultiple PVTs and SVTs,Cross vatidation is important,both for ctinical
         criterion groups(i.e.neurOlogic′              psychiatric,and developmentaり and fOr deterrnination
         of the increase in false positive rates associated with muitiple measures. In other
                    vhat point does the requirement of≧ 2 PVT fa‖ ures tead to an unaccept―
         words′ at、 ′
         abie false positive rate due to the use of 10′ 15′ or 20 PVTs and SVTs? Fina‖ y, PVT
         research atso needs to focus on multiple domains of perforrnance and symptom valid―
         ity′    l′   vhich have been discussed in the PVT and SVT sections of the current consensus
         paper. lⅥ emory― based vattdity has been the most investigated domain, additional
         research is needed for ongoing PVT development in tanguage′                      perception, sensori―
         motor,attention′ processing speed′ and problern― soiving validityo SVT failure can occur
         with ctairns of psychosis, PTSD′              depression′ anxiety′ and cognitive and somatic symp―
         toms′ which were discussed p「 eviously in the relevant sections in the present consen―
         sus paper,


         SurnFnary Of current consensus
         That valid information is required in order to forrn accurate opinions regarding exarn―
         inee presentation has been increasingty recognized and emphasized by ctinicai neuro―
         psychologists.            There    is   now    a   nearly   universal   acceptance   among   clinical
         neuropsychology postdoctoral trainees and practicing ctinicai neuropsychologists
         (SWeet et al.′ 2021a,2021b)that proactive evaluation of validity′               including reliance on




Ex. 162, p. 40 of 54
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          ObieCuve validtty indicatorsf is an impOrtant aspect of assessment′                         regardless of
          whether the evaluation context is clinical or forensic.Beyond practitioner― level support
          for the opinion that a‖ neuropsychological evaluations should proactively inctude vaト
          idity measuresf there continues to be substantial emphasis and support in the expert
          literature providing guidance regarding application of validity assessment procedures
                                  not,ust fOrensic pracutioners(Cf.SChroeder&Martin,2021d)。
          for ctinidans in general′
             Since the origina1 2009 consensus conference statement′ relevant terminology has
          shifted away from broad and sometimes i‖ ―  fitting concepts,such as eFFort and sharp―
          ened toward more fundamental concepts of y9,,J,t/′                    measured deliberately and with
          greater obieCtiVe precision.Additionally′ validity testing has been recategorized into
          performance― based PVTs and symptorn― reported SVTs(Larrabee′ 2012)。 The need for
          tighter research methods underlying related clinical procedures has also been empha―
          sized (ci Schroeder et al。 , 2019, Sherman et al.′ 2020), with evidence― based topics,
          such as use of rnultiple indicators,continuing to better inform practice′ even as con―
          sensus is awaited on such topics,There continues to be substantial annual knowledge
          growth frorn retevant empirica‖            y―   based research studies,vvith a continued burgeoning
          of relevant peer― reviewed research unrnistakably evident in mainstream neuropsych―
          ology practice ,ournals, evincing more published studies now addressing vandity
          assessment in clinical than in forensic contexts(SuChy,2019)。
               As was true in 2009,the sizeable subieCt matter of validity assessment is being
          energetica‖ y pursued by clinicai neuropsychology practitioners and researchers and it
          w‖ I continue to evolve′        l′   vith the net erect being that the guidance frorn the present
          consensus panel vvi‖ inevitably require future updating.Keeping abreast of distinctions
          of concept and procedures with regard tO identifying invalid presentations′ and the
          subset that can even more accurately be depicted as rnalingering′ requires an ongoing
          cornrnitment from practitioners to maintain competencies on these irYlpOrtant prac―
         tice topics.



          Disclosure statement
         A‖    participants were asked to complete a current AACN conflict of interest statemento No con―
         flicts were identified,VVithin this document,select specific tests are named′          merely as exannples.



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